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 Attorney or Party Name, Address, Telephone & FAX                        FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
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Ronghua Sophia Wang– State Bar No. 324494
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     Plaintiff(s) appearing without attorney
     Attorney for Plaintiff(s)

                                      UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:
PH DIP, INC.,                                                            CASE NUMBER: 2:18-bk-15972-WB
                                                                         ADVERSARY NUMBER: 2:20-ap-01125-WB
                                                                         CHAPTER: 11
                                                          Debtor(s).

PH DIP, INC.,
                                                                                  PLAINTIFF’S MOTION FOR DEFAULT
                                                                                    JUDGMENT UNDER LBR 7055-1

                                                         Plaintiff(s),   DATE: 03/02/2021
                                 vs.                                     TIME: 2:00 pm
                                                                         COURTROOM: 1375
F5 FINANCIAL, INC., a Texas Corporation; JAMES G.
                                                                         ADDRESS:
BUTLER, III; JAMES G. BUTLER IN HIS CAPACITY AS                                     U.S. Bankruptcy Court
PRESIDENT AND DIRECTOR OF F5 FINANCIAL, INC;                                        255 E. Temple Street
et al.,                                                                             Los Angeles, CA 90012
                                         Defendant(s).


TO THE DEFENDANT, DEFENDANT'S ATTORNEY AND OTHER INTERESTED PARTIES:

                                                                                 Brian Zheng
1. Name of Defendant(s) against whom default judgment is sought (specify name): _____________________________
   _____________________________________________________________________________________________
2. Plaintiff filed the complaint in the above-captioned proceeding on (specify date): 05/20/2020
3. The Summons and Complaint were served on Defendant by                                 personal service                mail service
   on the following date (specify date): 05/22/2020
4. A true and correct copy of the completed return of summons form is attached.

                “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
    “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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5. The time for filing an answer or other response expired on (specify date): 06/22/2020


6. No answer or other response has been filed or served by Defendant.
7. The default of Defendant:
    a.          Has not yet been entered, but is requested
    b.          Was entered on (specify date): 09/08/2020

8. A Status Conference:
    a.                                                            February 2, 2021 at 2:00 p.m.
                Is scheduled for (specify date, time, and place): ______________________________________
                ____________________________________________________________________________

    b.          Was held on (specify date, time, and place): _________________________________________
                ____________________________________________________________________________

9. As proof that Plaintiff is entitled to the relief requested in the complaint, Plaintiff:
    a.         Relies on the complaint and attached documents.
    b.         Attaches the following documents to establish a prima facie case:

         (1)                                  James Wong
                    Declaration of (specify): ____________________________________________________

         (2)        Declaration of (specify): ____________________________________________________

         (3)                         Plaintiff's Brief in Support of Motion for Entry of Default Judgment
                    Other (specify): ___________________________________________________________

10. As further support for entry of a default judgment, Plaintiff submits a memorandum of points and authorities (optional).

11. DECLARATION OF NON-MILITARY STATUS (Servicemembers Civil Relief Act, 50 U.S.C. chapter 50 (§§ 3901-
    4043)). The undersigned party or counsel declares under penalty of perjury, with respect to each Defendant against
    whom a default judgment is sought by this motion:

    a.          Defendant is not currently in military service. The facts that support this statement are as follows (see the
                court’s website for information about how to verify non-military status):




    b.          Defendant is currently in military service. The facts that support this statement are as follows (if this box is
                checked, the plaintiff must attach a supplement to this motion addressing the requirements in 50 U.S.C.
                § 3931(b)(2) to appoint an attorney for the Defendant before entering a judgment):




    c.          I am unable to determine whether or not Defendant is in military service. The facts that support this statement
                are as follows (if this box is checked, the plaintiff must attach a supplement to this motion addressing the
                bond requirement in 50 U.S.C. § 3931(b)(3)):




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12. Defaulting party is not an infant or incompetent party.


Plaintiff requests that this court enter a default judgment in favor of Plaintiff. A copy of the lodged proposed default
judgment is attached.


Date: 01/14/2021                                                     Respectfully submitted,

                                                                     GOE FORSYTHE & HODGES LLP
                                                                     Printed name of law firm



                                                                     /s/Robert P. Goe
                                                                     Signature

                                                                     Robert P. Goe
                                                                     Name of Attorney for Plaintiff or Plaintiff




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  5 Facsimile: (949) 955-9437

  6 Counsel for James Wong, the Liquidating Trustee of PH DIP, INC.

  7

  8                               UNITED STATES BANKRUPTCY COURT

  9                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 10   In re:                                                 Case No. 2:18-bk-15972-WB
 11   PH DIP, INC.,                                          Chapter 11 Case
 12                 Reorganized Debtor.                      Adv. Case No.: 2:20-ap-01125-WB
 13
      PH DIP, INC.,
 14                                                          DECLARATION OF JAMES WONG IN
                              Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
 15                                                          FOR ENTRY OF DEFAULT JUDGMENT
      v.                                                     AGAINST DEFENDANT BRIAN ZHENG
 16
      F5 FINANCIAL, INC., A TEXAS
 17   CORPORATION; JAMES G. BUTLER, III;
      JAMES G. BUTLER IN HIS CAPACITY AS
 18   PRESIDENT AND DIRECTOR OF F5
      FINANCIAL INC.; DAVID FELTMAN;
 19   DAVID FELTMAN DBA LAW OFFICE OF
      DAVID FELTMAN, AND BRIAN ZHENG.
 20
                            Defendants.
 21

 22
               I, James Wong, declare as follows:
 23
               1.       I am the Liquidating Trustee of the Reorganized Debtor PH DIP, Inc. (“Plaintiff”
 24
      and/or “Debtor”). I make this declaration in support of Plaintiff’s Motion for Default Judgment
 25
      Against Brian Zheng (the “Motion”). The matters stated herein are within my own personal
 26
      knowledge and if called to testify, I could and would competently testify thereto.
 27

 28


                                                         1
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  1          2.      On May 24, 2018 (the “Petition Date”), PH DIP, Inc., formerly Playhut, Inc., (the

  2 “Debtor”) filed a voluntary petition under chapter 11 of Title 11 of the United States Code.

  3          3.      The Debtor was continually insolvent from at least the beginning of 2015 until the

  4 Petition Date. Insolvency from a balance sheet test perspective is when an entity’s total liabilities

  5 exceed its total assets.

  6          4.      In the quarter ending March 31, 2018, the Debtor had $11,516,772 in total assets,

  7 and $15,607,442 in total current liabilities.

  8          5.      In the quarter ending June 30, 2017, the Debtor had $10,715,851 in total assets, and

  9 $11,555,108 in total current liabilities.

 10          6.      In the quarter ending June 30, 2016, the Debtor had $9,464,034 in total assets, and

 11 $10,329,675 in total current liabilities.

 12          7.      In the quarter ending June 30, 2015, the Debtor had $9,814,987 in total assets, and

 13 $10,794,978 in total current liabilities.

 14          8.      Plaintiff filed its Complaint herein [Docket No. 1] (the “Complaint”) on May 20,

 15 2020, alleging six claims for relief against Defendant Brian Zheng (“Zheng”). These claims

 16 (numbered here as they are numbered in the Complaint) are as follows: (1) Avoidance and

 17 Recovery of Intentional Fraudulent Transfers Pursuant to 11 U.S.C. §§ 544, 548, 550, 551; Cal.

 18 Civ. Code §§ 3439.04, 3430.07, and 3439.08; (2) Avoidance and Recovery of Constructive

 19 Fraudulent Transfers Pursuant to 11 U.S.C. 544(b), 548, 550(a), 551; Cal. Civ. Code §§ 3439.04,

 20 3430.05, 3439.07, 3439.08, and 3439.09; (3) Avoidance and Recovery of Constructive Fraudulent

 21 Transfers Pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550(a); (4) Recovery of Constructive

 22 Fraudulent Transfers Pursuant to 11 U.S.C. § 550(a)(2); (5) Avoidance and Recovery of Property

 23 of the Bankruptcy Estate. and (6) Breach of Fiduciary Duty.

 24          9.      Zheng, as the sole shareholder, President, and Chief Executive Officer of the

 25 Debtor, exercised complete control over the Debtor. Zheng, individually, and along with his

 26 relatives, also utilized the Debtor’s funds to acquired and operated multiple other entities,

 27 including Patent Category Corporation, Azillion LLC, I Chef Inc., and Nearby Kitchen LLC (the

 28 “Zheng Controlled Entities”).


                                                      2
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  1          10.     The Debtor maintained its main corporate bank account at Preferred Bank (the

  2 “Preferred Bank Account”), located in California.

  3          11.     During the four years leading up to the Petition Date, although the Preferred Bank

  4 Account was the Debtor’s business bank account and contained only the money of the Debtor,

  5 Zheng caused the Debtor to pay millions of dollars to third parties for his personal benefit and/or

  6 on behalf of his personal obligations.

  7          12.     F5 Financial was one of the parties who received funds made from the Debtor for

  8 purposes unrelated to the Debtor or its business. F5 Financial was not a creditor of the Debtor;

  9 instead, it bore no relationship to the Debtor or its business. Zheng caused the Debtor to make to

 10 F5 Financial the following payments (the “Pre-Petition Transfers”) for the sole benefit of Zheng,

 11 the Zheng Controlled Entities and/or F5 Financial and Mr. Butler:

 12                    Bank Account                    Date of                          Amount
                                                      Transfer
 13       Preferred Bank-                            4/13/2017 Wire Transfer         $322,919.99
          General Checking Account No. #6699
 14
          Preferred Bank-                            4/17/2017    Wire Transfer      $305,262.63
 15       General Checking Account No. #6699
          Preferred Bank-                            8/15/2016    Wire Transfer      $3,500.00
 16       General Checking Account No. #6699
          Preferred Bank-                            8/24/2016    Wire Transfer      $3,500.00
 17       General Checking Account No. #6699
 18                                                       TOTAL                      $635,182.62
             13.     On or about the same date as the Debtor’s transfers of $322,919.99 to F5 Financial,
 19
      Mr. Butler transferred $86,469.79 from F5 Financial to some third parties. Similarly, on the same
 20
      date as the Debtor’s transfer of $305,262.63 to F5 Financial, Mr. Butler transferred $44,670.00
 21
      from F5 Financial to some third parties.
 22
             14.     David Feltman was one of the parties who received the transferred funds. Plaintiff
 23
      has settled with Defendants David Feltman and David Feltman dba Law Office of David Feltman.
 24
      A Motion to Approve Compromise Under Rule 9019 for the settlement was filed on December 7,
 25
      2020 and is pending before the Court.
 26
             15.     The Debtor made a total of $635,182.62.00 in payments to F5 Financial. All these
 27
      funds were the Debtor’s property.
 28


                                                      3
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  1         16.    All of the Debtor’s payments to F5 Financial were made while the Debtor was

  2 insolvent.

  3         17.    Zheng defaulted on the Complaint, and the Court entered default against Zheng on

  4 December 10, 2020 [Docket No. 29].

  5         I declare under penalty of perjury under the laws of the United States that the foregoing is
                                      13th
  6 true and correct. Executed this ___________ day of January 2021, at Irvine, California.

  7

  8                                              By:
                                                       James Wong
  9

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  5 Counsel for James Wong, the Liquidating Trustee of PH DIP, INC.

  6

  7                              UNITED STATES BANKRUPTCY COURT

  8               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

  9   In re:                                                 Case No. 2:18-bk-15972-WB
 10   PH DIP, INC.,                                          Chapter 11 Case
 11               Reorganized Debtor.                        Adv. Case No.: 2:20-ap-01125-WB
 12
      PH DIP, INC.,
 13                                                          PLAINTIFF’S BRIEF IN SUPPORT OF
                             Plaintiff,                      MOTION FOR ENTRY OF DEFAULT
 14                                                          JUDGMENT AGAINST DEFENDANT
      v.                                                     BRIAN ZHENG
 15
      F5 FINANCIAL, INC., A TEXAS                            Hearing:
 16   CORPORATION; JAMES G. BUTLER, III;                     Date:      March 2, 2021
      JAMES G. BUTLER IN HIS CAPACITY AS                     Time:      2:00 p.m.
 17   PRESIDENT AND DIRECTOR OF F5
      FINANCIAL INC.; DAVID FELTMAN;                         Courtroom: 1375
      DAVID FELTMAN DBA LAW OFFICE OF                                   United States Bankruptcy Court
 18
      DAVID FELTMAN, AND BRIAN ZHENG.                                   255 East Temple Street
 19                                                                     Los Angeles, CA 90012
                           Defendants.
 20

 21

 22            Plaintiff PH DIP, Inc., the Reorganized Debtor and Plaintiff herein (the “Plaintiff” and/or

 23 “Debtor”), hereby submits its Brief in Support of Motion for Entry of Default Judgment Against

 24 Defendant Brian Zheng (the “Motion”). Plaintiff also submits the concurrently filed Declaration

 25 of James Wong (“Wong Decl.”) in support of the Motion.

 26 I.         INTRODUCTION

 27            By the Motion, Plaintiff seeks the entry of default judgment against Defendant Brian

 28 Zheng (“Zheng” or the “Defendant”). This is an action by Plaintiff to recover, for the benefit of


                                                         1
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  1 the Debtor’s bankruptcy estate, the Debtor’s transfer of funds in the amount of $635,182.62 to F5

  2 Financial, Inc. (“F5 Financial”) and/or James G. Butler (“Mr. Butler”) (together, the “F5 Financial

  3 Parties”). Zheng, as the sole shareholder, President, and Chief Executive Officer of the Debtor,

  4 caused the Debtor to make the payments to various third parties, including the F5 Financial

  5 Parties. All these payments were for the sole benefit of the F5 Financial Parties, Zheng, and/or his

  6 controlled affiliates and were for purposes unrelated to the Debtor or its business. Through

  7 transferring the Debtor’s funds to the F5 Financial Parties without any legitimate business

  8 purpose, Zheng diverted, dissipated, and unduly risked the Debtor’s assets and caused damages to

  9 the Debtor.

 10 II.      FACTUAL SUMMARY

 11          Plaintiff filed its Complaint herein [Docket No. 1] (the “Complaint”) on May 20, 2020,

 12 alleging six claims for relief against the Defendant. These claims (numbered here as they are

 13 numbered in the Complaint) are as follows: (1) Avoidance and Recovery of Intentional Fraudulent

 14 Transfers Pursuant to 11 U.S.C. §§ 544, 548, 550, 551; Cal. Civ. Code §§ 3439.04, 3430.07, and

 15 3439.08; (2) Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C.

 16 544(b), 548, 550(a), 551; Cal. Civ. Code §§ 3439.04, 3430.05, 3439.07, 3439.08, and 3439.09; (3)

 17 Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C. §§

 18 548(a)(1)(B) and 550(a); (4) Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C.

 19 § 550(a)(2); (5) Avoidance and Recovery of Property of the Bankruptcy Estate; and (6) Breach of

 20 Fiduciary Duty.

 21          The Debtor filed for voluntary relief under Chapter 7 of the Bankruptcy Code on May 24,

 22 2018 (the “Petition Date”). Zheng, as the sole shareholder, President, and Chief Executive Officer

 23 of the Debtor, exercised complete control over the Debtor. The Debtor maintained its main corporate

 24 bank account at Preferred Bank (the “Preferred Bank Account”), located in California. Wong Decl.,

 25 ¶ 10; Complaint, ¶ 24.

 26          During the four years leading up to the Petition Date, although the Preferred Bank Account

 27 was the Debtor’s business bank account and contained only the money of the Debtor, Zheng caused

 28 the Debtor to pay millions of dollars to third parties for his personal benefit and/or on behalf of his


                                                       2
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  1 personal obligations. Wong Decl., ¶ 11; Complaint, ¶ 18. Zheng, individually, and along with his

  2 relatives, also utilized the Debtor’s funds to acquire and operate multiple other entities, including

  3 Patent Category Corporation, Azillion LLC, I Chef Inc., and Nearby Kitchen LLC (the “Zheng

  4 Controlled Entities”). Wong Decl., ¶ 9; Complaint, ¶ 20.

  5          F5 Financial was one of the third parties who received funds made from the Debtor for

  6 purposes unrelated to the Debtor or its business. Wong Decl., ¶¶ 12-13; Complaint, ¶ 26. F5

  7 Financial was not a creditor of the Debtor; instead, it bore no relationship to the Debtor or its

  8 business. Wong Decl., ¶¶ 12-13; Complaint, ¶ 27. Zheng caused the Debtor to make to F5 Financial

  9 the following payments (the “Pre-Petition Transfers”) for the sole benefit of Zheng and the Zheng

 10 Controlled Entities:

 11                    Bank Account                    Date of                          Amount
                                                      Transfer
 12       Preferred Bank-                            4/13/2017 Wire Transfer        $322,919.99
 13       General Checking Account No. #6699
          Preferred Bank-                            4/17/2017    Wire Transfer     $305,262.63
 14       General Checking Account No. #6699
          Preferred Bank-                            8/15/2016    Wire Transfer     $3,500.00
 15       General Checking Account No. #6699
 16       Preferred Bank-                            8/24/2016    Wire Transfer     $3,500.00
          General Checking Account No. #6699
 17                                                      TOTAL                      $635,182.62
 18

 19 Wong Decl., ¶ 12; Complaint, ¶ 26.

 20          On or about the same date as the Debtor’s transfers of $322,919.99 to F5 Financial, Mr.

 21 Butler transferred $86,469.79 from F5 Financial to some third parties. Similarly, on the same date

 22 as the Debtor’s transfer of $305,262.63 to F5 Financial, Mr. Butler transferred $44,670.00 from F5
                                                  1
 23 Financial to some third parties. David Feltman was one of the parties who received the transferred

 24 funds. Wong Decl., ¶¶ 13-14.

 25

 26

 27   1
     Plaintiff has settled with Defendants David Feltman and David Feltman dba Law Office of David
 28 Feltman.  A Motion to Approve Compromise Under Rule 9019 for the settlement was filed on
    December 7, 2020 and was granted on January 7, 2021 [Docket No. 632].


                                                     3
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  1          Zheng defaulted on the Complaint, and the Court entered default against Zheng on

  2 December 10, 2020, see Docket # 29. Accordingly, the Plaintiff now requests that the Court enter

  3 default judgment against Zheng on all the Complaint’s Claims for Relief aforementioned, and

  4 award costs of suit on all claims for relief.

  5 III.     DEFAULT JUDGMENT IS APPROPRIATE

  6          A.      The Court May Enter Judgment by Default

  7          Rule 55 of the Federal Rule of Civil Procedure (“FRCP”), made applicable to this

  8 proceeding by Federal Rule of Bankruptcy Procedure 7055, provides that the Court may enter

  9 judgment by default upon application of the party entitled to the default. It provides in pertinent

 10 part:

 11               (a) Entering a Default. When a party against whom a judgment for
                      affirmative relief is sought has failed to plead or otherwise defend,
 12                   and that failure is shown by affidavit or otherwise, the clerk must
                      enter the party’s default.
 13
                  (b) Entering a Default Judgment.
 14
                             (1) By the Clerk. If the plaintiff’s claim is for a sum certain
 15                  or a sum that can be made certain by computation, the clerk—on the
                     plaintiff’s request, with an affidavit showing the amount due—must
 16                  enter judgment for that amount and costs against a defendant who
                     has been defaulted for not appearing and who is neither a minor nor
 17                  an incompetent person.

 18                           (2) By the Court. In all other cases, the party must apply to
                     the court for a default judgment. A default judgment may be entered
 19                  against a minor or incompetent person only if represented by a
                     general guardian, conservator, or other like fiduciary who has
 20                  appeared. If the party against whom a default judgment is sought has
                     appeared personally or by a representative, that party or its
 21                  representative must be served with written notice of the application
                     at least 7 days before the hearing. The court may conduct hearings
 22                  or make referrals—preserving any federal statutory right to a jury
                     trial—when, to enter or effectuate judgment, it needs to
 23
                             (A) conduct an accounting;
 24                          (B) determine the amount of damages;
                             (C) establish the truth of any allegation by evidence; or
 25                          (D) investigate any other matter.

 26          To obtain a default judgment, a two-step process is required: (1) an entry of default

 27 (typically by the clerk of court); and (2) a judgment by default. Cashco Fin. Servs. v. McGee (In re

 28 McGee), 359 B.R. 764, 770 (9th Cir. BAP 2006) (citing Fed. R. Civ. P. 55(a) and (b) and Fed. R.


                                                        4
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  1 Bankr. P. 7055). Here, the Plaintiff has satisfied the first step as the Court have entered default

  2 against Zheng.

  3          With regard to the second step, on a motion for default judgment, the “[w]ell-pleaded

  4 allegations are taken as admitted on a default judgment.” Benny v. Piper, 799 F.2d 489, 495 (9th

  5 Cir. 1986); see also Geddes v. United Financial Group, 559 F.2d 557, 560 (9th Cir. 1977).

  6 Evidence supporting such factual allegations is not required. See Fong v. U.S., 300 F.2d 400, 409

  7 (because of the “default order, no further supporting evidence was required.”). Moreover, in

  8 granting default judgments, courts are not required to make detailed findings of fact. See Fair

  9 Housing of Marin v. Combs (In re Combs), 285 F.3d 899, 906 (9th Cir. 2002).

 10          “The general rule of law is that upon default the factual allegations of the complaint,

 11 except those relating to the amount of damages, will be taken as true.” Sharma v. Salcido (In re

 12 Sharma, 2013 Bankr. LEXIS 2286, at *20-21 (B.A.P. 9th Cir. May 14, 2013) (quoting Televideo

 13 Sys., 826 F.2d 915, 917-18 (9th Cir. 1987)) (internal quotation marks and citations omitted).

 14 Thus, “a prove-up hearing is only required where the damages are unliquidated or not capable of

 15 mathematical calculation. FRCP 55(b) does not require a hearing to investigate facts not related to

 16 damages, since the default itself establishes those facts as alleged in the complaint.” In re Sharma,

 17 2013 Bankr. LEXIS 2286 at *22 (citing Davis v. Fendler, 650 F.2d 1154, 1161 (9th Cir. 1981);

 18 Televideo Sys., 826 F.2d at 917-18).

 19          In this case, the allegations in the Complaint set out the facts for the Debtor’s payments to

 20 F5 Financial and Mr. Bulter’s subsequent transfer of the funds to other parties for purposes

 21 unrelated to the Debtor or its business. The Plaintiff’s allegations are well pled, straightforward,

 22 and set forth Zheng’s liability for each of the six causes of actions stated in the Complaint. The

 23 Plaintiff submits that the monetary relief requested—avoidance of fraudulent transfers and breach

 24 of fiduciary duty—has been established such that entry of default judgment by the Court would be

 25 appropriate. Nevertheless, the Plaintiff, by this Brief, supplements the Complaint, providing

 26 further support for liability. Therefore, the Court should enter judgment in favor of the Plaintiff

 27 based on the facts established in the Complaint.

 28


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  1          B.      The Plaintiff Can Avoid the Transfers as Intentionally Fraudulent Under

  2                  California State Law Pursuant to 11 U.S.C. 544

  3          Section 3439.04(a)(1) of the California Civil Code states:

  4                  A transfer made or obligation incurred by a debtor is voidable as to a
                     creditor, whether the creditor’s claim arose before or after the transfer
  5                  was made or the obligation was incurred, if the debtor made the
                     transfer or incurred the obligation […] (1) with actual intent to hinder,
  6
                     delay, or defraud any creditor of the debtor.
  7

  8          A creditor can void as “actual fraud” any transfer made or obligation incurred by a debtor
  9 if the debtor acted with “[w]ith actual intent to hinder, delay, or defraud any creditor of the

 10 debtor.” Cal. Civ. Code § 3439.04(a)(1). Eleven (11) factors or “badges of fraud,” are used to

 11 determine actual fraud, prompting courts to consider whether the transfer should be voided:

 12          (1) The transfer or obligation was to an insider, (2) The debtor retained possession
             or control of the property transferred after the transfer, (3) The transfer or
 13          obligation was disclosed or concealed, (4) Before the transfer was made or
             obligation was incurred, the debtor had been sued or threatened with suit, (5) The
 14
             transfer was of substantially all the debtor's assets, (6) The debtor absconded, (7)
 15          The debtor removed or concealed assets, (8) The value of the consideration
             received by the debtor was reasonably equivalent to the value of the asset
 16          transferred or the amount of the obligation incurred, (9) The debtor was insolvent
             or became insolvent shortly after the transfer was made or the obligation was
 17          incurred, (10) The transfer occurred shortly before or shortly after a substantial debt
 18          was incurred, and (11) The debtor transferred the essential assets of the business to
             a lienholder who transferred the assets to an insider of the debtor.
 19   Cal. Civ. Code § 3439.04(b).

 20          Here, numerous badges of fraud are present with respect to the Pre-Petition Transfers.

 21 First, the Pre-Petition Transfers were for the benefit of the F5 Financial Parties, Zheng and/or the

 22 Zheng Controlled Entities and were not related to any legitimate business purposes of the Debtor.

 23 The Pre-Petition Transfers depleted the Debtor’s business account to levels insufficient to pay the

 24 Debtor’s debts as they came due. Second, Zheng knew or consciously or recklessly chose to

 25 ignore the fact that the Pre-Petition Transfers were not related to any legitimate business purposes

 26 of the Debtor, but the payments were made from the Debtor’s business account. Third, the Pre-

 27 Petition Transfers were made in 2016 and 2017. The Debtor was continuously insolvent from at

 28 least the beginning of 2015, and Zheng clearly knew that the Debtor was insolvent when the


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  1 Prepetition Transfers were made. Wong Decl., ¶ 3. Finally, the Debtor did not receive any value

  2 in exchange for the Pre-Petition Transfers. Therefore, the Pre-Petition Transfers were made with

  3 the actual intent to hinder, delay, or defraud the Debtor’s creditors and are avoidable under Cal.

  4 Civ. Code § 3439.04(a)(1).

  5          C.      The Plaintiff Can Avoid the Transfers as Constructively Fraudulent Under

  6                  California State Law Pursuant to 11 U.S.C. 544

  7          Section 3439.04(a)(2) of the California Civil Code states:

  8                   A transfer made or obligation incurred by a debtor is voidable as to a
                      creditor, whether the creditor’s claim arose before or after the transfer
  9                   was made or the obligation was incurred, if the debtor made the
                      transfer or incurred the obligation as follows:
 10
                      (2) Without receiving a reasonably equivalent value in exchange for
 11                   the transfer or obligation, and the debtor either:
                  (A) Was engaged or was about to engage in a business or a transaction for
 12                   which the remaining assets of the debtor were unreasonably small in
                      relation to the business or transaction.
 13               (B) Intended to incur, or believed or reasonably should have believed that
                      the debtor would incur, debts beyond the debtor’s ability to pay as
 14
                      they became due.
 15
             An avoidable constructive fraudulent transfer is made for less than reasonably equivalent
 16
      value in exchange when the debtor’s remaining assets were unreasonably small in relation to its
 17
      business or transaction. Cal. Civ. Code § 3439.04(a)(2). Further, pursuant to California Civil
 18
      Code § 3439.05(a), a transfer is avoidable when made for less than reasonably equivalent value
 19
      while the debtor is insolvent, or when the debtor becomes insolvent by reason of the transfer. Cal.
 20
      Civ. Code § 3439.05(a). The statutory “look back” period under state fraudulent transfer law for
 21
      transfers for less than reasonably equivalent value is four years. California Civil Code § 3439.09.
 22
             Here, the Pre-Petition Transfers were made in 2016 and 2017, which is within the four-
 23
      year statutory period under state constructively fraudulent transfer law. The Debtor was
 24
      continuously insolvent from at least the beginning of 2015 until the Petition Date. Wong Decl., ¶
 25
      3. The Debtor’s balance sheets also had fewer assets than liabilities every year from 2015 until the
 26
      Petition Date. Wong Decl., ¶¶ 4-7. Accordingly, the Debtor was insolvent when the Pre-Petition
 27
      Transfers were made.
 28


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  1          Further, as discussed above, the Pre-Petition Transfers were made for the benefit of the F5

  2 Financial Parties, Zheng and/or the Zheng Controlled Entities. The Debtor did not receive any

  3 value in exchange for the Pre-Petition Transfers. Therefore, the Pre-Petition Transfers were

  4 avoidable constructive fraudulent transfers.

  5          D.     The Plaintiff Can Avoid the Transfers as Constructively Fraudulent Under

  6                 Bankruptcy Code

  7          Section 548(a)(1)(B) of the Bankruptcy Code provides that a transaction can be avoided if

  8 the debtor has “received less than a reasonably equivalent value in exchange for such transfer or

  9 obligation … .” 11 U.S.C. § 548(a)(1)(B). Here, the Pre-Petition Transfers were avoidable

 10 constructive fraudulent transfers pursuant to § 548(a)(1)(B) for the following reasons:

 11          First, the Pre-Petition Transfers were transfers of an interest in property under the

 12 Bankruptcy Code. The Bankruptcy Code defines “transfers” to include the creation of a lien and

 13 “each mode, direct or indirect, absolute or conditional, voluntary or involuntary, of disposing or

 14 parting with—(i) property; or (ii) an interest in property.” 11 U.S.C. §§ 101(54)(A) and (D).

 15 Here, Zheng caused the Debtor to make a total of $635,182.62.00 in payments to F5 Financial for

 16 the benefit of the F5 Financial Parties, Zheng and/or the Zheng Controlled Entities and for

 17 purposes unrelated to the Debtor and its business. Wong Decl., ¶ 15, Complaint, ¶ 26. All these

 18 funds were the Debtor’s property.

 19          Second, the Debtor did not receive any value in exchange for the Pre-Petition Transfers.

 20 Instead, Zheng and/or the Zheng Controlled Entities were the parties who received the value

 21 because of the Pre-Petition Transfers. Wong Decl., ¶ 11. The payments that Zheng caused the

 22 Debtor to make to F5 Financial were unrelated to the Debtor or its business and for the sole

 23 benefit of the F5 Financial Parties, Zheng and/or the Zheng Controlled Entities.

 24          Finally, the Debtor made the Pre-Petition Transfers to F5 Financial while the Debtor was

 25 insolvent. The Debtor’s balance sheets had fewer assets than liabilities every year from 2015 until

 26 the Petition Date. Wong Decl., ¶¶ 4-7. The Pre-Petition Transfers were made during 2016 and

 27 2017. The Debtor was insolvent during that period. Therefore, the Pre-Petition Transfers were

 28 avoidable constructive fraudulent transfers pursuant to § 548(a)(1)(B).


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  1          E.       The Plaintiff May Recover the Transfers for the Benefit of the Estate Pursuant

  2                   to 11 U.S.C. § 550(a)(2)

  3          Section 550 of the Bankruptcy Code provides as follows:

  4          (a) Except as otherwise provided in this section, to the extent that a transfer is avoided

  5               under section 544 . . . of this title, the trustee may recover, for the benefit of the estate,

  6               the property transferred, or if the court so orders, the value of such property, from—

  7                   (1) The initial transferee of such transfer or the entity for whose benefit such

  8                       transfer was made; or

  9                   (2) Any immediate or mediate transferee of such initial transferee.

 10 11 U.S.C. § 550(a). As demonstrated above, Plaintiff may avoid the transfers pursuant to 11

 11 U.S.C. §§ 548(a)(1)(B), 544 and Cal. Civ. Code § 3439.04. Zheng could be an immediate or

 12 mediate transferee of the Debtor’s Pre-Petition Transfers. Thus, Plaintiff is entitled to a judgment

 13 recovering the payments from Zheng for the benefit of the estate.

 14          F.       The Plaintiff May Preserve the Avoided Transfers for the Benefit of the Estate

 15          Section 551 of the Bankruptcy Code provides that “any transfer avoided” under sections

 16 544, 547, or 548 of the Bankruptcy Code is “preserved for the benefit of the estate.” As Pre-

 17 Petition Transfers are being avoided pursuant to 11 U.S.C. §§ 548(a)(1)(B), and 544, the

 18 transferred funds also should be preserved for the benefit of the estate.

 19          G.       Plaintiff is Entitled to a Judgment for Turnover of the Payments

 20          Pursuant to 11 U.S.C. § 542, any party in possession, custody, or control of the debtor’s

 21 bankruptcy estate assets must turn over and deliver such property or the value thereof to the

 22 trustee. 11 U.S.C. § 542. A trustee may recover the value of the property if the entity no longer

 23 has possession of estate property. See Shapiro v. Henson, 739 F.3d 1198, 1200 (9th Cir. 2014).

 24 As explained above, the Debtor had an interest in the funds transferred through the Pre-Petition

 25 Transfers, and the voidable payments are property of the estate. Plaintiff is entitled to a judgment

 26 compelling the turnover of its payments from Zheng and/or any other party in possession of the

 27 payments for the purpose of administering the property for the benefit of the estate’s creditors.

 28


                                                          9
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  1          H.      The Court May Enter a Declaratory Judgment That the Payments are

  2                  Property of the Estate

  3          All property of the debtor and property of the estate passes into the exclusive jurisdiction

  4 of the bankruptcy court upon the filing of a bankruptcy petition. In re Hickman, 384 B.R. 832,

  5 839 (9th Cir. BAP 2008); see also 28 U.S.C. § 1334(e). “A complaint for declaratory relief is

  6 legally sufficient if it declares facts showing the existence of an actual controversy over the rights

  7 and duties of the parties under a written instrument and demands their adjudication.” In re Hetzer,

  8 1998 WL 35315852, at *6 (Bankr. N.D. Cal. 1998).

  9          Here, the Court has jurisdiction to determine whether the funds transferred through the

 10 Pre-Petition Transfers constitute property of the estate that can be administered for the benefit of

 11 creditors. As demonstrated above, the payments constitute property of the estate, as money

 12 belonging to the Debtor that was transferred from the Debtor’s bank account to F5 Financial for

 13 the benefit of Zheng and/or the Zheng Controlled Entities. Zheng failed to answer the Complaint

 14 and, as such, each of the facts in the Complaint is deemed to be admitted by Zheng. Under these

 15 circumstances, the Court should find that the Plaintiff is entitled to a declaratory judgment that the

 16 funds transferred through the Pre-Petition Transfers are property of the estate that may only be

 17 administered by Plaintiff for the benefit of the Debtor’s creditors.

 18          I.      Zheng Breached His Fiduciary Duty Owed to the Debtor

 19          “The elements of a cause of action for breach of fiduciary duty are: (1) existence of a
 20 fiduciary duty; (2) breach of the fiduciary duty; and (3) damage proximately caused by the

 21 breach.” Gutierrez v. Girardi, 194 Cal. App. 4th 925, 932 (2011). As discussed below, Zheng, as

 22 the Debtor’s President and the Chief Executive Officer, owed fiduciary duty to the Debtor; he

 23 breached his fiduciary duty by diverting the Debtor’s funds to F5 Financial for his personal benefit

 24 and/or the benefit of the Zheng Controlled Entities; and the transfers to F5 Financial caused

 25 damages to the Debtor in the amount of approximately $635,182.62.

 26          Zheng owed fiduciary duties to the Debtor. An officer who participates in corporate
 27 management by exercising some discretionary authority owes a fiduciary duty to the corporation.

 28 Angelica Textile Services, Inc. v. Park, 220 Cal. 4th 495, 509 (2013). Zheng was the Debtor’s


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  1 President and the Chief Executive Officer. He exercised complete control over the Debtor and its

  2 business and managed the Debtor’s day-to-day business transactions. Clearly, Zheng owed

  3 fiduciary duty to the Debtor. He was required to put the welfare and best interests of the Debtor

  4 above his own personal or other business’ interests.

  5          Zheng breached his fiduciary duty owed to the Debtor by knowingly transferring the

  6 Debtor’s funds to F5 Financial for his personal benefit and/or the benefit of the Zheng Controlled

  7 Entities. The Debtor did not receive any service or value in exchange for the Pre-Petition

  8 Transfers. As a result of the Pre-Petition Transfers, the Debtor’s funds in the amount of

  9 $635,182.62 were diverted for purposes unrelated to the Debtor and its business, which eventually

 10 contributed to the Debtor’s financial distress.

 11          Therefore, the Court should find that Zheng is liable for the Debtor’s damages in the

 12 amount of $635,182.62 caused by Zheng’s making the Pre-Petition Transfers in breach of his

 13 fiduciary duty owed to the Debtor as the Debtor’s managing officer.

 14          J.      Prejudgment Interest

 15          "[State] law regarding prejudgment interest is applicable via 11 U.S.C. § 544(b)."
 16 Gladstone v. McHaffie (In re UC Lofts on 4th, LLC), 2014 Bankr. LEXIS 1404, *76 (Bankr. S.D.

 17 Cal. Mar. 27, 2014); see also Attebury Grain, Ltd. Liab. Co. v. VAC Props., Ltd. Liab. Co., 2017

 18 U.S. Dist. LEXIS 211173, *18 (C.D. Cal. Dec. 13, 2017); see also Hayes v. Palm Seedlings

 19 Partners (In re Agric. Research & Tech. Group, Inc.), 916 F.2d 528, 541 (9th Cir. 1990). In

 20 California, the prejudgment interest rate for a fraudulent transfer claim is seven percent. See Cal.

 21 Civ. Code § 3287; Attebury Grain, Ltd. Liab. Co. v. VAC Props., Ltd. Liab. Co., 2017 U.S. Dist.

 22 LEXIS 211173, *18. In cases where interest is awarded on non-contractual claims, the rate is 7%

 23 per annum from the date the claim arose. Attebury Grain, Ltd. Liab. Co. v. VAC Props., Ltd. Liab.

 24 Co., 2017 U.S. Dist. LEXIS 211173, *18; Cal. Const. Art. XV § 1.

 25          Here, Plaintiff is entitled to judgment against Zheng in the amount of $635,182.62

 26 pursuant to 11 U.S.C. § 544 and 548, and the pre-judgment interest should be 7% under Cal. Civ.

 27 Code § 3287. Plaintiff’s fraudulent transfer claims arose on August 15, 2016 as Zheng caused the

 28 Debtor to make the first payment to F5 Financial on that date. Therefore, the prejudgment interest


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  1 at 7% per annum should start from August 15, 2016 through the date of entry of a default

  2 judgment.

  3 IV.     CONCLUSION

  4         Plaintiff requests that default judgment be entered against Zheng in the amount of

  5 $635,182.62. Plaintiff also requests that the Court award prejudgment interest as permitted by

  6 law.

  7

  8   Date: January 14, 2021                             GOE FORSYTHE & HODGES LLP

  9
                                                         By: /s/Robert Goe
 10
                                                             Robert P. Goe
 11                                                          Counsel for Plaintiff James Wong, the
                                                             Liquidating Trustee of PH DIP, Inc.
 12

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 Attorney or Party Name, Address, Telephone & FAX                        FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
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     Plaintiff(s) appearing without attorney
     Attorney for Plaintiff(s)

                                      UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:
PH DIP, INC.,                                                            CASE NUMBER: 2:18-bk-15972-WB
                                                                         ADVERSARY NUMBER: 2:20-ap-01125-WB
                                                                         CHAPTER: 11
                                                          Debtor(s).

PH DIP, INC.,
                                                                                  PLAINTIFF’S MOTION FOR DEFAULT
                                                                                    JUDGMENT UNDER LBR 7055-1

                                                         Plaintiff(s),   DATE: 03/02/2021
                                 vs.                                     TIME: 2:00 pm
                                                                         COURTROOM: 1375
F5 FINANCIAL, INC., a Texas Corporation; JAMES G.
                                                                         ADDRESS:
BUTLER, III; JAMES G. BUTLER IN HIS CAPACITY AS                                     U.S. Bankruptcy Court
PRESIDENT AND DIRECTOR OF F5 FINANCIAL, INC;                                        255 E. Temple Street
et al.,                                                                             Los Angeles, CA 90012
                                         Defendant(s).


TO THE DEFENDANT, DEFENDANT'S ATTORNEY AND OTHER INTERESTED PARTIES:

                                                                                   F5 FINANCIAL, INC., a Texas
1. Name of Defendant(s) against whom default judgment is sought (specify name): _____________________________
   Corporation; James Gilmore Butler, III; and James G. Butler as President and Director
   _____________________________________________________________________________________________
2. Plaintiff filed the complaint in the above-captioned proceeding on (specify date): 05/20/2020
3. The Summons and Complaint were served on Defendant by                                 personal service                mail service
   on the following date (specify date): 05/22/2020
4. A true and correct copy of the completed return of summons form is attached.

                “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
    “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                         Page 1                             F 7055-1.2.DEFAULT.JMT.MOTION
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5. The time for filing an answer or other response expired on (specify date): 06/22/2020


6. No answer or other response has been filed or served by Defendant.
7. The default of Defendant:
    a.          Has not yet been entered, but is requested
    b.          Was entered on (specify date): 09/08/2020

8. A Status Conference:
    a.                                                            February 2, 2021 at 2:00 p.m.
                Is scheduled for (specify date, time, and place): ______________________________________
                ____________________________________________________________________________

    b.          Was held on (specify date, time, and place): _________________________________________
                ____________________________________________________________________________

9. As proof that Plaintiff is entitled to the relief requested in the complaint, Plaintiff:
    a.         Relies on the complaint and attached documents.
    b.         Attaches the following documents to establish a prima facie case:

         (1)                                  James Wong
                    Declaration of (specify): ____________________________________________________

         (2)        Declaration of (specify): ____________________________________________________

         (3)                         Plaintiff's Brief in Support of Motion for Entry of Default Judgment
                    Other (specify): ___________________________________________________________

10. As further support for entry of a default judgment, Plaintiff submits a memorandum of points and authorities (optional).

11. DECLARATION OF NON-MILITARY STATUS (Servicemembers Civil Relief Act, 50 U.S.C. chapter 50 (§§ 3901-
    4043)). The undersigned party or counsel declares under penalty of perjury, with respect to each Defendant against
    whom a default judgment is sought by this motion:

    a.          Defendant is not currently in military service. The facts that support this statement are as follows (see the
                court’s website for information about how to verify non-military status):




    b.          Defendant is currently in military service. The facts that support this statement are as follows (if this box is
                checked, the plaintiff must attach a supplement to this motion addressing the requirements in 50 U.S.C.
                § 3931(b)(2) to appoint an attorney for the Defendant before entering a judgment):




    c.          I am unable to determine whether or not Defendant is in military service. The facts that support this statement
                are as follows (if this box is checked, the plaintiff must attach a supplement to this motion addressing the
                bond requirement in 50 U.S.C. § 3931(b)(3)):




               This form is PDQGDWRU\. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                           Page 2                               F 7055-1.2.DEFAULT.JMT.MOTION
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  1 Robert P. Goe – State Bar No. 137019
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  5 Facsimile: (949) 955-9437

  6 Counsel for James Wong, the Liquidating Trustee of PH DIP, INC.

  7

  8                               UNITED STATES BANKRUPTCY COURT

  9                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 10   In re:                                                 Case No. 2:18-bk-15972-WB
 11   PH DIP, INC.,                                          Chapter 11 Case
 12                 Reorganized Debtor.                      Adv. Case No.: 2:20-ap-01125-WB
 13
      PH DIP, INC.,
 14                                                          DECLARATION OF JAMES WONG IN
                              Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
 15                                                          FOR ENTRY OF DEFAULT JUDGMENT
      v.                                                     AGAINST DEFENDANTS F5 FINANCIAL,
 16                                                          INC., JAMES G. BUTLER, III, AND
      F5 FINANCIAL, INC., A TEXAS                            JAMES G. BUTLER IN HIS CAPACITY
 17   CORPORATION; JAMES G. BUTLER, III;                     AS PRESIDENT AND DIRECTOR OF F5
      JAMES G. BUTLER IN HIS CAPACITY AS                     FINANCIAL, INC.
 18   PRESIDENT AND DIRECTOR OF F5
      FINANCIAL INC.; DAVID FELTMAN;
 19   DAVID FELTMAN DBA LAW OFFICE OF
      DAVID FELTMAN, AND BRIAN ZHENG.
 20
                            Defendants.
 21

 22
               I, James Wong, declare as follows:
 23
               1.       I am the Liquidating Trustee of the Reorganized Debtor PH DIP, Inc. (“Plaintiff”
 24
      and/or “Debtor”). I make this declaration in support of Plaintiff’s Motion for Default Judgment
 25
      Against F5 Financial, Inc., James G. Butler, III, and James G. Butler in His Capacity as President
 26
      and Director of F5 Financial, Inc. (the “Motion”). The matters stated herein are within my own
 27
      personal knowledge and if called to testify, I could and would competently testify thereto.
 28


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  1

  2          2.      On May 24, 2018 (the “Petition Date”), PH DIP, Inc., formerly Playhut, Inc., (the

  3 “Debtor”) filed a voluntary petition under chapter 11 of Title 11 of the United States Code.

  4          3.      The Debtor was continually insolvent from at least the beginning of 2015 until the

  5 Petition Date. Insolvency from a balance sheet test perspective is when an entity’s total liabilities

  6 exceed its total assets.

  7          4.      In the quarter ending March 31, 2018, the Debtor had $11,516,772 in total assets,

  8 and $15,607,442 in total current liabilities.

  9          5.      In the quarter ending June 30, 2017, the Debtor had $10,715,851 in total assets, and

 10 $11,555,108 in total current liabilities.

 11          6.      In the quarter ending June 30, 2016, the Debtor had $9,464,034 in total assets, and

 12 $10,329,675 in total current liabilities.

 13          7.      In the quarter ending June 30, 2015, the Debtor had $9,814,987 in total assets, and

 14 $10,794,978 in total current liabilities.

 15          8.      Plaintiff filed its Complaint herein [Docket No. 1] (the “Complaint”) on May 20,

 16 2020, alleging five claims for relief against Defendants F5 Financial, Inc. (“F5 Financial”), James

 17 G. Butler, III, and James G. Butler in His Capacity as President and Director of F5 Financial, Inc.

 18 (“Mr. Butler”), (together, the “Defendants”). These claims (numbered here as they are numbered

 19 in the Complaint) are as follows: (1) Avoidance and Recovery of Intentional Fraudulent Transfers

 20 Pursuant to 11 U.S.C. §§ 544, 548, 550, 551; Cal. Civ. Code §§ 3439.04, 3430.07, and 3439.08;

 21 (2) Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C. 544(b),

 22 548, 550(a), 551; Cal. Civ. Code §§ 3439.04, 3430.05, 3439.07, 3439.08, and 3439.09; (3)

 23 Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C. §§

 24 548(a)(1)(B) and 550(a); (4) Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C.

 25 § 550(a)(2); and (5) Avoidance and Recovery of Property of the Bankruptcy Estate. .

 26          9.      Yu “Brain” Zheng (“Zheng”), as the sole shareholder, President, and Chief

 27 Executive Officer of the Debtor, exercised complete control over the Debtor. Zheng, individually,

 28 and along with his relatives, also utilized the Debtor’s funds to acquired and operated multiple


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  1 other entities, including Patent Category Corporation, Azillion LLC, I Chef Inc., and Nearby

  2 Kitchen LLC (the “Zheng Controlled Entities”).

  3          10.     The Debtor maintained its main corporate bank account at Preferred Bank (the

  4 “Preferred Bank Account”), located in California.

  5          11.     During the four years leading up to the Petition Date, although the Preferred Bank

  6 Account was the Debtor’s business bank account and contained only the money of the Debtor,

  7 Zheng caused the Debtor to pay millions of dollars to third parties for his personal benefit and/or

  8 on behalf of his personal obligations.

  9          12.     F5 Financial was one of the parties who received funds made from the Debtor for

 10 purposes unrelated to the Debtor or its business. F5 Financial was not a creditor of the Debtor;

 11 instead, it bore no relationship to the Debtor or its business. Zheng caused the Debtor to make to

 12 F5 Financial the following payments (the “Pre-Petition Transfers”) for the sole benefit of Zheng

 13 and the Zheng Controlled Entities:

 14                    Bank Account                    Date of                          Amount
                                                      Transfer
 15       Preferred Bank-                            4/13/2017 Wire Transfer         $322,919.99
          General Checking Account No. #6699
 16
          Preferred Bank-                            4/17/2017    Wire Transfer      $305,262.63
 17       General Checking Account No. #6699
          Preferred Bank-                            8/15/2016    Wire Transfer      $3,500.00
 18       General Checking Account No. #6699
          Preferred Bank-                            8/24/2016    Wire Transfer      $3,500.00
 19       General Checking Account No. #6699
 20                                                       TOTAL                      $635,182.62
             13.     On or about the same date as the Debtor’s transfers of $322,919.99 to F5 Financial,
 21
      Mr. Butler transferred $86,469.79 from F5 Financial to some third parties. Similarly, on the same
 22
      date as the Debtor’s transfer of $305,262.63 to F5 Financial, Mr. Butler transferred $44,670.00
 23
      from F5 Financial to some third parties.
 24
             14.     David Feltman was one of the parties who received the transferred funds. Plaintiff
 25
      has settled with Defendants David Feltman and David Feltman dba Law Office of David Feltman.
 26
      A Motion to Approve Compromise Under Rule 9019 for the settlement was filed on December 7,
 27
      2020 and is pending before the Court.
 28


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  1         15.     The Debtor made a total of $635,182.62.00 in payments to the F5 Financial and the

  2 other Defendants. All these funds were the Debtor’s property.

  3         16.     All of the Debtor’s payments to Defendants were made while the Debtor was

  4 insolvent.

  5         17.     The Defendants defaulted on the Complaint, and the Court entered default against

  6 (1) F5 Financial, Inc. on September 8, 2020, see Docket # 15, (2) James Gilmore Butler, III on

  7 September 8, 2020, see Docket # 16, and (3) James G. Butler in his Capacity as President and

  8 Director of F5 Financial, Inc. on December 10, 2020 [Docket No. 30].

  9         I declare under penalty of perjury under the laws of the United States that the foregoing is
                                     13th
 10 true and correct. Executed this ___________ day of January 2021, at Irvine, California.

 11

 12                                              By:
                                                       James Wong
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  6

  7                              UNITED STATES BANKRUPTCY COURT

  8               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

  9   In re:                                                 Case No. 2:18-bk-15972-WB
 10   PH DIP, INC.,                                          Chapter 11 Case
 11               Reorganized Debtor.                        Adv. Case No.: 2:20-ap-01125-WB
 12
      PH DIP, INC.,
 13                                                          PLAINTIFF’S BRIEF IN SUPPORT OF
                             Plaintiff,                      MOTION FOR ENTRY OF DEFAULT
 14                                                          JUDGMENT AGAINST DEFENDANTS F5
      v.                                                     FINANCIAL, INC., JAMES G. BUTLER,
 15                                                          III, AND JAMES G. BUTLER IN HIS
      F5 FINANCIAL, INC., A TEXAS                            CAPACITY AS PRESIDENT AND
 16   CORPORATION; JAMES G. BUTLER, III;                     DIRECTOR OF F5 FINANCIAL, INC.
      JAMES G. BUTLER IN HIS CAPACITY AS
 17   PRESIDENT AND DIRECTOR OF F5                           Hearing:
      FINANCIAL INC.; DAVID FELTMAN;                         Date:      March 2, 2021
 18   DAVID FELTMAN DBA LAW OFFICE OF
      DAVID FELTMAN, AND BRIAN ZHENG.                        Time:      2:00 p.m.
                                                             Courtroom: 1375
 19
                           Defendants.                                  United States Bankruptcy Court
 20                                                                     255 East Temple Street
                                                                        Los Angeles, CA 90012
 21

 22
               Plaintiff PH DIP, Inc., the Reorganized Debtor and Plaintiff herein (the “Plaintiff” and/or
 23
      “Debtor”), hereby submits its Brief in Support of Motion for Entry of Default Judgment Against
 24
      Defendants F5 Financial, Inc., James G. Butler, III, and James G. Butler in His Capacity as
 25
      President and Director of F5 Financial, Inc. (the “Motion”). Plaintiff also submits the
 26
      concurrently filed Declaration of James Wong (“Wong Decl.”) in support of the Motion.
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  1 I.       INTRODUCTION

  2          By the Motion, Plaintiff seeks the entry of default judgment against Defendants F5

  3 Financial, Inc. (“F5 Financial”), James G. Butler, III, and James G. Butler in His Capacity as

  4 President and Director of F5 Financial, Inc. (“Mr. Butler”), (together, the “Defendants”)1. This is

  5 an action by Plaintiff to recover, for the benefit of the Debtor’s bankruptcy estate, the Debtor’s

  6 transfer of funds in the amount of $635,182.62 to the Defendants. Yu “Brain” Zheng (“Zheng”),

  7 as the sole shareholder, President, and Chief Executive Officer of the Debtor, caused the Debtor to

  8 make the payments to the Defendants. All these payments were for the sole benefit of the

  9 Defendants, Zheng, and/or his controlled affiliates and unrelated to the Debtor or its business.

 10 None of the Defendants were creditors of the Debtor. Through transferring the Debtor’s funds to

 11 the Defendants without any legitimate business purpose, Zheng diverted, dissipated, and unduly

 12 risked the Debtor’s assets that might otherwise have been used to satisfy creditors’ claims.

 13 II.      FACTUAL SUMMARY

 14          Plaintiff filed its Complaint herein [Docket No. 1] (the “Complaint”) on May 20, 2020,

 15 alleging five claims for relief against the Defendants. These claims (numbered here as they are

 16 numbered in the Complaint) are as follows: (1) Avoidance and Recovery of Intentional Fraudulent

 17 Transfers Pursuant to 11 U.S.C. §§ 544, 548, 550, 551; Cal. Civ. Code §§ 3439.04, 3430.07, and

 18 3439.08; (2) Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C.

 19 544(b), 548, 550(a), 551; Cal. Civ. Code §§ 3439.04, 3430.05, 3439.07, 3439.08, and 3439.09; (3)

 20 Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C. §§

 21 548(a)(1)(B) and 550(a); (4) Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C.

 22 § 550(a)(2); and (5) Avoidance and Recovery of Property of the Bankruptcy Estate.

 23          The Debtor filed for voluntary relief under Chapter 7 of the Bankruptcy Code on May 24,

 24 2018 (the “Petition Date”). Zheng, as the sole shareholder, President, and Chief Executive Officer

 25 of the Debtor, exercised complete control over the Debtor. The Debtor maintained its main corporate

 26

 27   1
      Defendants F5 Financial, Inc., James G. Butler, III, and James G. Butler in His Capacity as
 28 President  and Director of F5 Financial, Inc. are engaged in the same transfers, and thusly, are
    collectively named Defendants in this Motion.


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  1 bank account at Preferred Bank (the “Preferred Bank Account”), located in California. Wong Decl.,

  2 ¶ 10; Complaint, ¶ 24.

  3          During the four years leading up to the Petition Date, although the Preferred Bank Account

  4 was the Debtor’s business bank account and contained only the money of the Debtor, Zheng caused

  5 the Debtor to pay millions of dollars to third parties for his personal benefit and/or on behalf of his

  6 personal obligations. Wong Decl., ¶ 11; Complaint, ¶ 18. Zheng, individually, and along with his

  7 relatives, also utilized the Debtor’s funds to acquire and operate multiple other entities, including

  8 Patent Category Corporation, Azillion LLC, I Chef Inc., and Nearby Kitchen LLC (the “Zheng

  9 Controlled Entities”). Wong Decl., ¶ 9; Complaint, ¶ 20.

 10          F5 Financial was one of the parties who received funds made from the Debtor for purposes

 11 unrelated to the Debtor or its business. Wong Decl., ¶ 12; Complaint, ¶ 26. F5 Financial was not a

 12 creditor of the Debtor; instead, it bore no relationship to the Debtor or its business. Wong Decl., ¶

 13 12; Complaint, ¶ 27. Zheng caused the Debtor to make to F5 Financial the following payments (the

 14 “Pre-Petition Transfers”) for the sole benefit of Zheng and the Zheng Controlled Entities:

 15                    Bank Account                     Date of                          Amount
                                                       Transfer
 16       Preferred Bank-                             4/13/2017 Wire Transfer         $322,919.99
 17       General Checking Account No. #6699
          Preferred Bank-                             4/17/2017    Wire Transfer      $305,262.63
 18       General Checking Account No. #6699
          Preferred Bank-                             8/15/2016    Wire Transfer      $3,500.00
 19       General Checking Account No. #6699
 20       Preferred Bank-                             8/24/2016    Wire Transfer      $3,500.00
          General Checking Account No. #6699
 21                                                       TOTAL                       $635,182.62
 22

 23 Wong Decl., ¶ 12; Complaint, ¶ 26.

 24          On or about the same date as the Debtor’s transfers of $322,919.99 to F5 Financial, Mr.

 25 Butler transferred $86,469.79 from F5 Financial to some third parties. Similarly, on the same date

 26 as the Debtor’s transfer of $305,262.63 to F5 Financial, Mr. Butler transferred $44,670.00 from F5

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  1 Financial to some third parties. David Feltman2 was one of the parties who received the transferred

  2 funds. Wong Decl., ¶¶ 13-14.

  3          The Defendants defaulted on the Complaint, and the Court entered default against (1) F5

  4 Financial, Inc. on September 8, 2020, see Docket # 15, (2) James Gilmore Butler, III on

  5 September 8, 2020, see Docket # 16, and (3) James G. Butler in his Capacity as President and

  6 Director of F5 Financial, Inc. on December 10, 2020, see Docket # 30. Accordingly, the Plaintiff

  7 now requests that the Court enter default judgment against the Defendants on five of the

  8 Complaint’s Claims for Relief aforementioned, and award costs of suit on all claims for relief.

  9 III.     DEFAULT JUDGMENT IS APPROPRIATE

 10          A.      The Court May Enter Judgment by Default

 11          Rule 55 of the Federal Rule of Civil Procedure (“FRCP”), made applicable to this

 12 proceeding by Federal Rule of Bankruptcy Procedure 7055, provides that the Court may enter

 13 judgment by default upon application of the party entitled to the default. It provides in pertinent

 14 part:

 15               (a) Entering a Default. When a party against whom a judgment for
                      affirmative relief is sought has failed to plead or otherwise defend,
 16                   and that failure is shown by affidavit or otherwise, the clerk must
                      enter the party’s default.
 17
                  (b) Entering a Default Judgment.
 18
                             (1) By the Clerk. If the plaintiff’s claim is for a sum certain
 19                  or a sum that can be made certain by computation, the clerk—on the
                     plaintiff’s request, with an affidavit showing the amount due—must
 20                  enter judgment for that amount and costs against a defendant who
                     has been defaulted for not appearing and who is neither a minor nor
 21                  an incompetent person.

 22                           (2) By the Court. In all other cases, the party must apply to
                     the court for a default judgment. A default judgment may be entered
 23                  against a minor or incompetent person only if represented by a
                     general guardian, conservator, or other like fiduciary who has
 24                  appeared. If the party against whom a default judgment is sought has
                     appeared personally or by a representative, that party or its
 25                  representative must be served with written notice of the application
                     at least 7 days before the hearing. The court may conduct hearings
 26

 27   2
     Plaintiff has settled with Defendants David Feltman and David Feltman dba Law Office of David
 28 Feltman.  A Motion to Approve Compromise Under Rule 9019 for the settlement was filed on
    December 7, 2020 and was granted on January 7, 2021 [Docket No. 632].


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  1                  or make referrals—preserving any federal statutory right to a jury
                     trial—when, to enter or effectuate judgment, it needs to
  2
                            (A) conduct an accounting;
  3                         (B) determine the amount of damages;
                            (C) establish the truth of any allegation by evidence; or
  4                         (D) investigate any other matter.

  5          To obtain a default judgment, a two-step process is required: (1) an entry of default

  6 (typically by the clerk of court); and (2) a judgment by default. Cashco Fin. Servs. v. McGee (In re

  7 McGee), 359 B.R. 764, 770 (9th Cir. BAP 2006) (citing Fed. R. Civ. P. 55(a) and (b) and Fed. R.

  8 Bankr. P. 7055). Here, the Plaintiff has satisfied the first step as the Court have entered default

  9 against all the Defendants.

 10          With regard to the second step, on a motion for default judgment, the “[w]ell-pleaded

 11 allegations are taken as admitted on a default judgment.” Benny v. Piper, 799 F.2d 489, 495 (9th

 12 Cir. 1986); see also Geddes v. United Financial Group, 559 F.2d 557, 560 (9th Cir. 1977).

 13 Evidence supporting such factual allegations is not required. See Fong v. U.S., 300 F.2d 400, 409

 14 (because of the “default order, no further supporting evidence was required.”). Moreover, in

 15 granting default judgments, courts are not required to make detailed findings of fact. See Fair

 16 Housing of Marin v. Combs (In re Combs), 285 F.3d 899, 906 (9th Cir. 2002).

 17          “The general rule of law is that upon default the factual allegations of the complaint,

 18 except those relating to the amount of damages, will be taken as true.” Sharma v. Salcido (In re

 19 Sharma, 2013 Bankr. LEXIS 2286, at *20-21 (B.A.P. 9th Cir. May 14, 2013) (quoting Televideo

 20 Sys., 826 F.2d 915, 917-18 (9th Cir. 1987)) (internal quotation marks and citations omitted).

 21 Thus, “a prove-up hearing is only required where the damages are unliquidated or not capable of

 22 mathematical calculation. FRCP 55(b) does not require a hearing to investigate facts not related to

 23 damages, since the default itself establishes those facts as alleged in the complaint.” In re Sharma,

 24 2013 Bankr. LEXIS 2286 at *22 (citing Davis v. Fendler, 650 F.2d 1154, 1161 (9th Cir. 1981);

 25 Televideo Sys., 826 F.2d at 917-18).

 26          In this case, the allegations in the Complaint set out the facts for the Debtor’s payments to

 27 F5 Financial and Mr. Bulter’s subsequent transfer of the funds to other parties for purposes

 28 unrelated to the Debtor or its business. The Plaintiff’s allegations are well pled, straightforward,


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  1 and set forth the Defendants’ liability for each of the five cause of actions stated in the Complaint.

  2 The Plaintiff submits that the monetary relief requested—avoidance of fraudulent transfers—has

  3 been established such that entry of default judgment by the Court would be appropriate.

  4 Nevertheless, the Plaintiff, by this Brief, supplements the Complaint, providing further support for

  5 liability. Therefore, the Court should enter judgment in favor of the Plaintiff based on the facts

  6 established in the Complaint.

  7          B.      The Plaintiff Can Avoid the Transfers as Intentionally Fraudulent Under

  8                  California State Law Pursuant to 11 U.S.C. 544

  9          Section 3439.04(a)(1) of the California Civil Code states:

 10                  A transfer made or obligation incurred by a debtor is voidable as to a
                     creditor, whether the creditor’s claim arose before or after the transfer
 11                  was made or the obligation was incurred, if the debtor made the
                     transfer or incurred the obligation […] (1) with actual intent to hinder,
 12
                     delay, or defraud any creditor of the debtor.
 13

 14          A creditor can void as “actual fraud” any transfer made or obligation incurred by a debtor
 15 if the debtor acted with “[w]ith actual intent to hinder, delay, or defraud any creditor of the

 16 debtor.” Cal. Civ. Code § 3439.04(a)(1). Eleven (11) factors or “badges of fraud,” are used to

 17 determine actual fraud, prompting courts to consider whether the transfer should be voided:

 18          (1) The transfer or obligation was to an insider, (2) The debtor retained possession
             or control of the property transferred after the transfer, (3) The transfer or
 19          obligation was disclosed or concealed, (4) Before the transfer was made or
             obligation was incurred, the debtor had been sued or threatened with suit, (5) The
 20
             transfer was of substantially all the debtor's assets, (6) The debtor absconded, (7)
 21          The debtor removed or concealed assets, (8) The value of the consideration
             received by the debtor was reasonably equivalent to the value of the asset
 22          transferred or the amount of the obligation incurred, (9) The debtor was insolvent
             or became insolvent shortly after the transfer was made or the obligation was
 23          incurred, (10) The transfer occurred shortly before or shortly after a substantial debt
 24          was incurred, and (11) The debtor transferred the essential assets of the business to
             a lienholder who transferred the assets to an insider of the debtor.
 25   Cal. Civ. Code § 3439.04(b).

 26          Here, numerous badges of fraud are present with respect to the Pre-Petition Transfers.

 27 First, the Pre-Petition Transfers were for the benefit of the Defendants, Zheng and the Zheng’s

 28 Controlled Entities and were not related to any legitimate business purposes of the Debtor. The


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  1 Pre-Petition Transfers depleted the Debtor’s business account to levels insufficient to pay the

  2 Debtor’s debts as they came due. Second, the Defendants knew or consciously or recklessly chose

  3 to ignore the fact that the Pre-Petition Transfers were not related to any legitimate business

  4 purposes of the Debtor, but the payments were made from the Debtor’s business account. Third,

  5 the Pre-Petition Transfers were made in 2016 and 2017. The Debtor was continuously insolvent

  6 from at least the beginning of 2015, and Zheng clearly knew that the Debtor was insolvent when

  7 the Prepetition Transfers were made. Wong Decl., ¶ 3. Finally, the Debtor did not receive any

  8 value in exchange for the Pre-Petition Transfers. Therefore, the Pre-Petition Transfers were made

  9 with the actual intent to hinder, delay, or defraud the Debtor’s creditors and are avoidable under

 10 Cal. Civ. Code § 3439.04(a)(1).

 11          C.      The Plaintiff Can Avoid the Transfers as Constructively Fraudulent Under

 12                  California State Law Pursuant to 11 U.S.C. 544

 13          Section 3439.04(a)(2) of the California Civil Code states:

 14                   A transfer made or obligation incurred by a debtor is voidable as to a
                      creditor, whether the creditor’s claim arose before or after the transfer
 15                   was made or the obligation was incurred, if the debtor made the
                      transfer or incurred the obligation as follows:
 16
                      (2) Without receiving a reasonably equivalent value in exchange for
 17                   the transfer or obligation, and the debtor either:
                  (A) Was engaged or was about to engage in a business or a transaction for
 18                   which the remaining assets of the debtor were unreasonably small in
                      relation to the business or transaction.
 19               (B) Intended to incur, or believed or reasonably should have believed that
                      the debtor would incur, debts beyond the debtor’s ability to pay as
 20
                      they became due.
 21
             An avoidable constructive fraudulent transfer is made for less than reasonably equivalent
 22
      value in exchange when the debtor’s remaining assets were unreasonably small in relation to its
 23
      business or transaction. Cal. Civ. Code § 3439.04(a)(2). Further, pursuant to California Civil
 24
      Code § 3439.05(a), a transfer is avoidable when made for less than reasonably equivalent value
 25
      while the debtor is insolvent, or when the debtor becomes insolvent by reason of the transfer. Cal.
 26
      Civ. Code § 3439.05(a). The statutory “look back” period under state fraudulent transfer law for
 27
      transfers for less than reasonably equivalent value is four years. California Civil Code § 3439.09.
 28


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  1          Here, the Pre-Petition Transfers were made in 2016 and 2017, which is within the four-

  2 year statutory period under state constructively fraudulent transfer law. The Debtor was

  3 continuously insolvent from at least the beginning of 2015 until the Petition Date. Wong Decl., ¶

  4 3. The Debtor’s balance sheets also had fewer assets than liabilities every year from 2015 until the

  5 Petition Date. Wong Decl., ¶¶ 4-7. Accordingly, the Debtor was insolvent when the Pre-Petition

  6 Transfers were made.

  7          Further, as discussed above, the Pre-Petition Transfers were made for the benefit of the

  8 Defendants, Zheng and the Zheng Controlled Entities. The Debtor did not receive any value in

  9 exchange for the Pre-Petition Transfers. Therefore, the Pre-Petition Transfers were avoidable

 10 constructive fraudulent transfers.

 11          D.     The Plaintiff Can Avoid the Transfers as Constructively Fraudulent Under

 12                 Bankruptcy Code

 13          Section 548(a)(1)(B) of the Bankruptcy Code provides that a transaction can be avoided if

 14 the debtor has “received less than a reasonably equivalent value in exchange for such transfer or

 15 obligation … .” 11 U.S.C. § 548(a)(1)(B). Here, the Pre-Petition Transfers were avoidable

 16 constructive fraudulent transfers pursuant to § 548(a)(1)(B) for the following reasons:

 17          First, the Pre-Petition Transfers were transfers of an interest in property under the

 18 Bankruptcy Code. The Bankruptcy Code defines “transfers” to include the creation of a lien and

 19 “each mode, direct or indirect, absolute or conditional, voluntary or involuntary, of disposing or

 20 parting with—(i) property; or (ii) an interest in property.” 11 U.S.C. §§ 101(54)(A) and (D).

 21 Here, the Debtor made a total of $635,182.62.00 in payments to F5 Financial and other

 22 Defendants. Wong Decl., ¶ 15, Complaint, ¶ 26. All these funds were the Debtor’s property.

 23          Second, the Debtor did not receive any value in exchange for the Pre-Petition Transfers.

 24 None of the Defendants were creditors of the Debtor. Wong Decl., ¶ 11. The payments that Zheng

 25 caused the Debtor to make to the Defendants were unrelated to the Debtor or its business and for

 26 the sole benefit of the Defendants, Zheng and the Zheng Controlled Entities.

 27          Finally, the Debtor made the Pre-Petition Transfers to the Defendants while the Debtor

 28 was insolvent. The Debtor’s balance sheets had fewer assets than liabilities every year from 2015


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  1 until the Petition Date. Wong Decl., ¶¶ 4-7. The Pre-Petition Transfers were made during 2016

  2 and 2017. The Debtor was insolvent during that period. Therefore, the Pre-Petition Transfers were

  3 avoidable constructive fraudulent transfers pursuant to § 548(a)(1)(B).

  4          E.       The Plaintiff May Recover the Transfers for the Benefit of the Estate Pursuant

  5                   to 11 U.S.C. § 550(a)(2)

  6          Section 550 of the Bankruptcy Code provides as follows:

  7          (a) Except as otherwise provided in this section, to the extent that a transfer is avoided

  8               under section 544 . . . of this title, the trustee may recover, for the benefit of the estate,

  9               the property transferred, or if the court so orders, the value of such property, from—

 10                   (1) The initial transferee of such transfer or the entity for whose benefit such

 11                       transfer was made; or

 12                   (2) Any immediate or mediate transferee of such initial transferee.

 13 11 U.S.C. § 550(a). As demonstrated above, Plaintiff may avoid the transfers pursuant to 11

 14 U.S.C. §§ 548(a)(1)(B), 544 and Cal. Civ. Code § 3439.04. The Defendants were the initial

 15 transferees of the Debtor’s Pre-Petition Transfers. Thus, Plaintiff is entitled to a judgment

 16 recovering the payments from the Defendants for the benefit of the estate.

 17          F.       The Plaintiff May Preserve the Avoided Transfers for the Benefit of the

 18                   Estates

 19          Section 551 of the Bankruptcy Code provides that “any transfer avoided” under sections

 20 544, 547, or 548 of the Bankruptcy Code is “preserved for the benefit of the estate.” As the

 21 Debtor’s payments to the Defendants are being avoided pursuant to 11 U.S.C. §§ 548(a)(1)(B),

 22 and 544, the payments also should be preserved for the benefit of the estate.

 23          G.       Plaintiff is Entitled to a Judgment for Turnover of the Payments

 24          Pursuant to 11 U.S.C. § 542, any party in possession, custody, or control of the debtor’s

 25 bankruptcy estate assets must turn over and deliver such property or the value thereof to the

 26 trustee. 11 U.S.C. § 542. A trustee may recover the value of the property if the entity no longer

 27 has possession of estate property. See Shapiro v. Henson, 739 F.3d 1198, 1200 (9th Cir. 2014).

 28 As explained above, the Debtor had an interest in the payments made to the Defendants, and the


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  1 voidable payments are property of the estate. Plaintiff is entitled to a judgment compelling the

  2 turnover of its payments from the Defendants and/or any other party in possession of the payments

  3 for the purpose of administering the property for the benefit of the estate’s creditors.

  4          H.      The Court May Enter a Declaratory Judgment That the Payments are

  5                  Property of the Estate

  6          All property of the debtor and property of the estate passes into the exclusive jurisdiction

  7 of the bankruptcy court upon the filing of a bankruptcy petition. In re Hickman, 384 B.R. 832,

  8 839 (9th Cir. BAP 2008); see also 28 U.S.C. § 1334(e). “A complaint for declaratory relief is

  9 legally sufficient if it declares facts showing the existence of an actual controversy over the rights

 10 and duties of the parties under a written instrument and demands their adjudication.” In re Hetzer,

 11 1998 WL 35315852, at *6 (Bankr. N.D. Cal. 1998).

 12          Here, the Court has jurisdiction to determine whether the Debtor’s payments to the

 13 Defendants constitute property of the estate that can be administered for the benefit of creditors.

 14 As demonstrated above, the payments constitute property of the estate, as money belonging to the

 15 Debtor that was transferred from the Debtor’s bank account to the Defendants for purposes

 16 unrelated the Debtor and its business. The Defendants failed to answer the Complaint and, as

 17 such, each of the facts in the Complaint is deemed to be admitted by the Defendants. Under these

 18 circumstances, the Court should find that the Plaintiff is entitled to a declaratory judgment that the

 19 Debtor’s payments to the Defendants are property of the estate that may only be administered by

 20 Plaintiff for the benefit of the Debtor’s creditors.

 21          I.      Prejudgment Interest

 22          "[State] law regarding prejudgment interest is applicable via 11 U.S.C. § 544(b)."
 23 Gladstone v. McHaffie (In re UC Lofts on 4th, LLC), 2014 Bankr. LEXIS 1404, *76 (Bankr. S.D.

 24 Cal. Mar. 27, 2014); see also Attebury Grain, Ltd. Liab. Co. v. VAC Props., Ltd. Liab. Co., 2017

 25 U.S. Dist. LEXIS 211173, *18 (C.D. Cal. Dec. 13, 2017); see also Hayes v. Palm Seedlings

 26 Partners (In re Agric. Research & Tech. Group, Inc.), 916 F.2d 528, 541 (9th Cir. 1990). In

 27 California, the prejudgment interest rate for a fraudulent transfer claim is seven percent. See Cal.

 28 Civ. Code § 3287; Attebury Grain, Ltd. Liab. Co. v. VAC Props., Ltd. Liab. Co., 2017 U.S. Dist.


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  1 LEXIS 211173, *18. In cases where interest is awarded on non-contractual claims, the rate is 7%

  2 per annum from the date the claim arose. Attebury Grain, Ltd. Liab. Co. v. VAC Props., Ltd. Liab.

  3 Co., 2017 U.S. Dist. LEXIS 211173, *18; Cal. Const. Art. XV § 1.

  4         Here, Plaintiff is entitled to judgment against the Defendants in the amount of $635,182.62

  5 pursuant to 11 U.S.C. § 544 and 548, and the pre-judgment interest should be 7% under Cal. Civ.

  6 Code § 3287. Plaintiff’s fraudulent transfer claims arose on August 15, 2016 as the Debtor made

  7 the first payment to the Defendants on that date. Therefore, the prejudgment interest at 7% per

  8 annum should start from August 15, 2016 through the date of entry of a default judgment.

  9 IV.     CONCLUSION

 10         Plaintiff requests that default judgment be entered against the Defendants in the amount of

 11 $635,182.62. Plaintiff also requests that the Court award prejudgment interest as permitted by

 12 law.

 13

 14   Date: January 14, 2021                             GOE FORSYTHE & HODGES LLP

 15
                                                         By: /s/Robert Goe
 16
                                                             Robert P. Goe
 17                                                          Counsel for Plaintiff James Wong, the
                                                             Liquidating Trustee of PH DIP, Inc.
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Plaintiff or Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA − LOS ANGELES
In re:

                                                                              CASE NO.:    2:18−bk−15972−WB

PH DIP, Inc                                                                   CHAPTER:     11


                                                                              ADVERSARY NUMBER:         2:20−ap−01125−WB
                                                               Debtor(s).

PH DIP, Inc


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
F5 Financial, Inc.                                                                   PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
06/22/2020. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                July 21, 2020
             Time:                02:00 PM
             Hearing Judge:       Julia W. Brand
             Location:            255 E Temple St., Crtrm 1375, Los Angeles, CA 90012



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: May 21, 2020




                                                                                        By:        "s/" William C. Kaaumoana Jr.
                                                                                                   Deputy Clerk




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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
PH DIP, Inc                                                                  F5 Financial, Inc.
                                                                             James Gilmore Butler
                                                                             James G. Butler in his Capacity as President and Director of F5
                                                                             Financial Inc.
                                                                             David Feltman
                                                                             David Feltman dba Law Office of David Feltman
                                                                             Brian Zheng
                                                                             DOES 1 to 25




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                                                             ATTACHMENT A
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  5   Facsimile: (949) 955-9437

  6   Attorneys for PH DIP, Inc.
  7
  8                                UNITED STATES BANKRUPTCY COURT
  9                  CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
 10
 11   In re:                                                Case No. 2:18-bk-15972-WB
 12    PH DIP, INC.,
                                                            Chapter 11 Case
 13                  Debtor and Debtor in Possession.
                                                            Adv. Case No.: 2:20-ap-            -WB
 14    PH DIP, INC.,                                        COMPLAINT FOR:
 15                  Plaintiff,                             1.   AVOIDANCE AND RECOVERY OF
 16                                                              CONSTRUCTIVE FRAUDULENT
       -vs-                                                      TRANSFERS;
 17    F5 FINANCIAL, INC., A TEXAS                          2.   AVOIDANCE AND RECOVERY OF
       CORPORATION; JAMES GILMORE                                INTENTIONAL FRAUDULENT
 18    BUTLER, III; JAMES G. BUTLER IN HIS                       TRANSFERS;
       CAPACITY AS PRESIDENT AND
 19    DIRECTOR OF F5 FINANCIAL INC.; DAVID                 3.   AVOIDANCE AND RECOVERY OF
       FELTMAN; DAVID FELTMAN DBA LAW                            PROPERTY OF THE
 20    OFFICE OF DAVID FELTMAN; BRIAN                            BANKRUPTCY ESTATE; AND
       ZHENG; and DOES 1-25.
 21
                 Defendants.                                4.   BREACH OF FIDUCIARY DUTY
 22
 23
               PH DIP, Inc., formerly known as Playhut, Inc., a California Corporation, the Debtor and
 24
      Debtor-in-Possession (the “Debtor” or “Playhut” or “Plaintiff”) and Plaintiff in this adversary
 25
      proceeding, respectfully represents and alleges as follows:
 26
 27            ///

 28            ///

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  1
  2                                   I.   JURISDICTION AND VENUE
  3           1.     This Court has jurisdiction to adjudicate the issues raised in this adversary
  4   proceeding under 28 U.S.C. § 1334 because the claims asserted herein arise under title 11 of the
  5   United States Code or arise in or relate to the Chapter 11 case of the debtor and debtor-in-
  6   possession, PH DIP, Inc., currently pending in the Bankruptcy Court as Bankruptcy Case 2:18-bk-
  7   15972-WB (the “Playhut Bankruptcy Case”). The outcome of this adversary proceeding will have
  8   a significant effect on the bankruptcy estate because it will impact the disposition of property of
  9   the estate and the amount of money available for distribution to creditors.
 10           2.     This action is a core proceeding under 28 U.S.C. § 157(b).
 11           3.     Pursuant to FRBP 7008, the Debtor consents to the Bankruptcy Court entering final
 12   judgment and order. Each Defendant is hereby notified that FRBP 7008(a) requires each
 13   Defendant to plead whether the claims for relief alleged against such Defendant are core or non-
 14   core and, if non-core, whether consent is given to the entry of final orders and judgment by the
 15   Bankruptcy Court.
 16           4.     This adversary proceeding involves property worth more than $1,000 and does not
 17   involve a consumer debt. Venue in this judicial district is appropriate under 28 U.S.C. §§ 1408
 18   and 1409(a) and/or (c) because Debtor’s bankruptcy case is pending in the Central District of
 19   California.
 20                                            II. THE PARTIES
 21           5.     The Debtor is a corporation organized under the laws of the State of California.
 22           6.     On May 24, 2018 (the “Petition Date”), the Debtor filed for bankruptcy protection
 23   under chapter 11 of the Bankruptcy Code.
 24           7.     On December 3, 2018 an Order was entered granting the Debtor’s Motion for
 25   Order Authorizing Change in Case Caption, in accordance with the name change of Playhut, Inc.,
 26   to PH DIP, Inc. [Docket No. 266].
 27           8.     The Debtor is operating its business and managing its affairs as a debtor-in-
 28   possession pursuant to Bankruptcy Code Sections 1107(a) and 1108.

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  1
  2           9.     On information and belief, on and before the Petition Date, and continuing to the
  3   present, Defendant F5 Financial, Inc. (“F5 Financial”) was a corporation organized under the laws
  4   of the State of Texas.
  5           10.    On information and belief, on and before the Petition Date, and continuing to the
  6   present, Defendant James Gilmore Butler, III (“Butler”) was an individual who resides in the state
  7   of Texas. Butler is the president of F5 Financial.
  8           11.    On information and belief, on and before the Petition Date, and continuing to the
  9   present, Defendant David Feltman (“Feltman”) was an individual residing and doing business in
 10   the State of Illinois. Feltman is an attorney at law doing business as the Law Office of David
 11   Feltman.
 12           12.    On and before the Petition Date and continuing to the present, Defendant Brian
 13   Zheng (“Zheng”) was an individual residing in the State of California. Zheng is the sole
 14   shareholder, President, and Chief Executive Officer of the Debtor.
 15           13.    Defendants DOES 1 through 25, inclusive, whether individual, corporate, associate,
 16   alter ego, or otherwise, are fictitious names of F5 Financial, Butler, Feltman, and/or Zheng
 17   (collectively, “Defendants”), or their agents, whose true names and capacities, at this time, are
 18   unknown to Plaintiff. Plaintiff is informed and believes and thereupon alleges that at all times
 19   herein mentioned, each Defendant sued herein as a DOE was acting for itself or its agent, servant,
 20   employee, and/or alter ego of its Co-Defendants, and in doing the things hereinafter mentioned,
 21   was acting in the course and scope of its authority as such agent, servant, employee, and/or alter-
 22   ego, and with the permission and consent of its Co-Defendants; and that each of said fictitiously
 23   named Defendants, whether acting for itself or as agents, corporations, associations, or otherwise,
 24   is in some way liable or responsible to Plaintiff on the facts hereinafter alleged, and caused
 25   injuries and damages proximately thereby, as hereinafter alleged. At such times as Defendants’
 26   true names and capacities become known to Plaintiff, Plaintiff will ask leave of this court to
 27   amend this Complaint to insert said true names and capacities.
 28           14.    Each of the Doe defendants is an immediate or mediate transferee of the fraudulent

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  1   or otherwise avoidable transfers alleged in this Complaint, or of the proceeds of such fraudulent or
  2   otherwise avoidable transfers, and did not take such transferred property for value, in good faith,
  3   and without knowledge of the avoidability of such transfers.
  4                                    III. GENERAL ALLEGATIONS
  5           15.    The allegations contained in paragraphs 1-13, inclusive, are re-alleged and
  6   incorporated herein by this reference, as though set forth in full.
  7   Playhut, Brian Zheng, and Related Entities
  8           16.    Founded in 1992, Playhut became a leader in the toy industry, producing toys that
  9   allowed children to play in imaginative and educational ways, including indoor and outdoor play
 10   structures, baby structures, dolls, and plushes that incorporated interactive features such as games
 11   and themed environments. With licenses from Disney, Nickelodeon, Sesame Street, and others
 12   that allowed Playhut to put their images on its play structures, Playhut grew into a toy producer
 13   with significant market share of toy structures and other products for primarily the toddler age
 14   range. Playhut had relationships with major retailers such as Wal-Mart, Canadian Tire, TJ Max,
 15   Walgreens, and Amazon.
 16           17.    At the head of Playhut was its founder, sole shareholder, President, and Chief
 17   Executive Officer, Brian Zheng, who was ultimately responsible for overseeing the day-to-day
 18   business operations and financial performance of Playhut and who was involved in supervising all
 19   aspects of Playhut’s financial affairs.
 20           18.    During the four years leading up to the Petition Date, Zheng was causing Playhut to
 21   pay millions of dollars to third parties for his personal benefit and/or on behalf of his personal
 22   obligations.
 23           19.    Utilizing funds transferred from Playhut prior to the Petition Date, Zheng was able
 24   to and did maintain an extravagant lifestyle, including several luxury cars, a multi-million dollar
 25   11,000-square-foot home, and the like.
 26           20.    Utilizing funds transferred from Playhut prior to the Petition Date, Zheng,
 27   individually, and along with his relatives, also directly or indirectly acquired and operated multiple
 28   other entities, including Patent Category Corporation, Azillion LLC, I Chef Inc., and Nearby

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  1   Kitchen LLC (the “Zheng Controlled Entities”).
  2
  3   Playhut’s Financial Collapse
  4           21.     By 2017, Playhut was already in serious financial difficulty, and its overall
  5   financial condition, including its significant debts, rendered it insolvent, undercapitalized, and
  6   unable to pay its debts as they became due in the ordinary course of business.
  7           22.     Unfortunately, Zheng either could not or would not scale back his or the Zheng
  8   Controlled Entities’ (into which Zheng was diverting Playhut’s money) business operations or
  9   expenses or his personal lavish lifestyle. Instead, Zheng kept spending Playhut’s money and
 10   causing Playhut to take on additional debt while leaving significant creditors unpaid in a bid to
 11   support his lavish lifestyle.
 12           23.     On May 24, 2018, Playhut filed for bankruptcy protection under chapter 11 of the
 13   Bankruptcy Code. According to Playhut’s Schedules of Assets and Liabilities, its assets totaled
 14   approximately $4 million while its liabilities totaled approximately $21 million.
 15   The Playhut Bank Account of Preferred Bank
 16           24.     At all relevant times, Playhut maintained its main corporate bank account at
 17   Preferred Bank (the “Preferred Bank Account”), located in California. That account remained
 18   open until after Playhut filed bankruptcy. As a general matter, money from business loans to
 19   Playhut and cash receipts from Playhut’s business operations were received into that account.
 20   Similarly, Playhut paid its business expenses from that account. The Preferred Bank Account was
 21   disclosed in the general ledger and other books and records of Playhut. Similarly, the flow of
 22   Playhut’s money into and out of that account was also disclosed in Playhut’s records. When Zheng
 23   personally signed the Schedules and Statement of Financial Affairs filed in Playhut’s bankruptcy
 24   case, he disclosed the Preferred Bank Account in those filings.
 25           25.     Although the Preferred Bank Account was the business bank account for and
 26   contained only the money of Playhut, at Zheng’s instruction, payments were made from that
 27   account to support his opulent life style and personal proclivities, including: (a) to operate the
 28   Zheng Controlled Entities; and (b) to pay his personal expenses charged on his multiple credit

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  1   cards.
  2   The F5 Financial Transfers
  3            26.   Among the payments that Zheng caused to be made from Playhut’s money in the
  4   Preferred Bank Account for purposes unrelated to Playhut or its business are the following
  5   payments to Defendant F5 Financial (the “Transfers”):
  6
                        Bank Account                     Date of                        Amount
  7
                                                        Transfer
  8        Preferred Bank-                             4/13/2017 Wire Transfer       $322,919.99
           General Checking Account No. #6699
  9        Preferred Bank-                             4/17/2017    Wire Transfer    $305,262.63
           General Checking Account No. #6699
 10
           Preferred Bank-                             8/15/2016    Wire Transfer    $3,500.00
 11        General Checking Account No. #6699
           Preferred Bank-                             8/24/2016    Wire Transfer    $3,500.00
 12        General Checking Account No. #6699
                                                            TOTAL                    $635,182.62
 13
 14            27.   Defendant F5 Financial was not a creditor of Playhut; instead, it bore no

 15   relationship to Playhut or its business. All payments that Zheng caused Playhut to make to F5

 16   Financial were for the sole benefit of Zheng and the Zheng Controlled Entities, had no legitimate

 17   business purpose, and were not for the benefit of Playhut or its creditors.

 18            28.   On or about the same date as Playhut’s transfer of $322,919.99 to F5 Financial,

 19   Defendant Butler transferred $86,469.79 from F5 Financial to Defendants DOES 1-25.

 20            29.   On the same date as the Debtor’s transfer of $305,262.63 to F5 Financial,

 21   Defendant Butler transferred $44,670.00 to Defendants DOES 1-25.

 22            30.   On or about the same date as Playhut’s transfer of $322,919.99 to F5 Financial,

 23   Defendant Butler transferred $218,510.20 from F5 Financial to Feltman.

 24            31.   On or about the same date as Playhut’s transfer of $305,262.63 to F5 Financial,

 25   Defendant Butler transferred $208,400 from F5 Financial to Feltman.

 26            32.   Defendants F5 Financial and/or Butler also retained certain of the funds from the

 27   Transfers.

 28            33.   Zheng’s transfers to F5 Financial as described above lacked any business purpose


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  1   and depleted the Debtor’s business checking account to levels insufficient to pay the Debtor’s
  2   debts as they came due. By April 28, 2020, the Debtor had only $16,843.52 in its business
  3   checking account.
  4           34.       Through transferring $635,182.62 of the Debtor’s funds to F5 Financial without
  5   any legitimate business purpose, Zheng diverted, dissipated, and unduly risked the Debtor’s assets
  6   that might otherwise have been used to satisfy creditors’ claims. Zheng thereby breached his duty
  7   of care to the Debtor by mismanaging the Debtor and failing to diligently operate the Debtor’s
  8   corporate business. Zheng’s mismanagement permitted the Debtor’s funds to be diverted to
  9   Defendants F5 Financial, Butler, and Feltman, at the expense of the Debtor’s legitimate business.
 10                                     IV. FIRST CLAIM FOR RELIEF
 11      (Avoidance and Recovery of Intentional Fraudulent Transfers Pursuant to 11 U.S.C. §§
 12                  502(d), 544, 548, 550, 551; Cal. Civ. Code §§ 3439.04, 3439.07, 3439.08)
 13                                          [Against All Defendants]
 14           35.       The allegations contained in paragraphs 1 through 34, inclusive, are re-alleged and

 15   incorporated herein by this reference as though set forth in full herein.

 16           36.       During the four-year period immediately preceding the Petition Date, Zheng caused

 17   Playhut to make the Transfers to or for the benefit of Defendants.

 18           37.       The Transfers were made by Playhut, at Zheng’s direction, with the actual intent to

 19   hinder, delay, or defraud its creditors. Specifically, Zheng caused Playhut to make these Transfers

 20   to or for the benefit of the Defendants to fund Defendant Zheng’s opulent personal lifestyle and

 21   personal proclivities and residence, and not to sustain or promote the business of Playhut, even

 22   though he knew or consciously or recklessly chose to ignore the facts known to him that strongly

 23   suggested that Playhut was in dire financial straits and was undercapitalized, insolvent and unable

 24   to pay its debts as they became due in the ordinary course of business.

 25           38.       The Defendants did not take any of the Transfers for a reasonably equivalent value

 26   and/or did not take such Transfers in good faith. Specifically, the Defendants: (a) knew or

 27   consciously or recklessly chose to ignore facts known to them that strongly suggested that they

 28   were being paid by Playhut because the transfers were identified as emanating from that entity; (b)

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  1   knew or consciously chose to ignore facts known to them that strongly suggested that the services,
  2   if any, that Defendants provided in exchange for those payments were not for Playhut but rather
  3   were for Zheng or a Zheng Controlled Entity; and (c) knew or consciously or recklessly chose to
  4   ignore facts known to them that strongly suggested the services, if any, provided by them for such
  5   payments conferred no or less than substantially equivalent value upon Playhut.
  6           39.    The Transfers were made either in anticipation of bankruptcy and/or to prevent the
  7   Debtor from paying its debts.
  8           40.    The Transfers were made for the purpose of preventing a prospective bankruptcy
  9   trustee and/or creditors of the Debtor from obtaining the value of the Transfers.
 10           41.    The Transfers were made with the actual intent to hinder, delay, or defraud
 11   creditors, including the Debtor.
 12           42.    At all relevant times, the Transfers were voidable under Cal. Civ. Code §§
 13   3439.04(a) and 3439.07 by one or more creditors who held and hold unsecured claims against
 14   Playhut that were and are allowable against its estate under 11 U.S.C. § 502, or that were not and
 15   are not allowable only under 11 U.S.C. § 502(e).
 16           43.    The Transfers were fraudulent transfers avoidable under 11 U.S.C. §§ 544 and 548
 17   and California Civil Code §§ 3439.04, 3439.07, and 3439.09. The Debtor may recover for the
 18   benefit of the estate the Transfers, or the value of the Transfers, from Defendants, or any
 19   immediate or mediate transferee of the Defendants, pursuant to 11 U.S.C. §§ 548, 550, and 551.
 20                                   V.   SECOND CLAIM FOR RELIEF
 21     (Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C. §§
 22        544(b), 548, 550(a), 551; California Civil Code §§ 3439.04, 3439.05, 3439.07, 3439.08,
 23                                                 3439.09)
 24                                        [Against All Defendants]
 25           44.    The allegations contained in paragraphs 1 through 43, inclusive, are re-alleged and

 26   incorporated herein by this reference as though set forth in full herein.

 27           45.    At all relevant times within the four years immediately preceding the Petition Date,

 28   Playhut: (a) was insolvent, or became insolvent as a result of the Transfers; (b) was engaged in or

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  1   was about to engage in a business or a transaction for which its remaining assets were
  2   unreasonably small in relation to the business or transaction; or (c) intended to incur, or believed
  3   or reasonably should have believed that it would incur, debts beyond its ability to pay as they
  4   became due.
  5           46.    At all relevant times, the Transfers were voidable under Cal. Civ. Code §§
  6   3439.04(b) or 3439.05 and Cal Civ. Code § 3439.07 by one or more creditors who held and hold
  7   unsecured claims against Playhut that were and are allowable against its estate under 11 U.S.C. §
  8   502 or that were not and are not allowable only under 11 U.S.C. § 502(e).
  9
 10                                   VI. THIRD CLAIM FOR RELIEF
 11     (Avoidance and Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C. §§
 12                                         548(a)(1)(B) and 550(a))
 13                                        [Against All Defendants]
 14           47.    The allegations contained in paragraphs 1 through 46, inclusive, are re-alleged and

 15   incorporated herein by this reference as though set forth in full herein.

 16           48.    The Defendants did not take any of the Transfers for a reasonably equivalent value

 17   and/or did not take such Transfers in good faith.

 18           49.    At all relevant times within the four years immediately preceding the Petition Date,

 19   Playhut: (a) was insolvent, or became insolvent as a result of the Transfers; (b) was engaged in or

 20   was about to engage in a business or a transaction for which its remaining assets were

 21   unreasonably small in relation to the business or transaction; or (c) intended to incur, or believed

 22   or reasonably should have believed that it would incur, debts beyond its ability to pay as they

 23   became due.

 24                                 VII. FOURTH CLAIM FOR RELIEF

 25        (Recovery of Constructive Fraudulent Transfers Pursuant to 11 U.S.C. § 550(a)(2))
 26                                        [Against All Defendants]
 27           50.    The allegations contained in paragraphs 1 through 49, inclusive, are re-alleged and

 28   incorporated herein by this reference as though set forth in full herein.

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  1
  2           51.     To the extent that the Defendants, named and unnamed, are not the initial
  3   transferees of the Transfers, such Defendants are immediate or mediate transferees of the initial
  4   transferee of such payments.
  5           52.     To the extent that the Defendants, named and unnamed, are the immediate or
  6   mediate transferees of the initial transferee of the Transfers, such Defendants did not take such
  7   transfers for value and/or in good faith and/or without knowledge of the avoidability of such
  8   Transfers.
  9           53.     Each of the Transfers referred to in this claim for relief is recoverable from such
 10   Defendants, named and unnamed, as an immediate or mediate transferee of the transfers the Zheng
 11   caused Playhut to make to the initial transferees thereof.
 12                                   VIII. FIFTH CLAIM FOR RELIEF
 13                   (Avoidance and Recovery of Property of the Bankruptcy Estate)
 14                                         [Against All Defendants]
 15           54.     The allegations contained in paragraphs 1 through 53, inclusive, are re-alleged and
 16   incorporated herein by this reference as though set forth in full herein.
 17           55.     Defendants are in possession of the property received through the Transfers.
 18           56.     As the subject of the Transfers is property of the bankruptcy estate pursuant to 11
 19   U.S.C. § 541, pursuant to 11 U.S.C. §§ 542 and 550, the Debtor is entitled to turnover of its
 20   interest in the Property and/or the value of its interest in the Property.
 21           57.     Once the Transfers are recovered, pursuant to 11 U.S.C. § 551, the Transfers are
 22   preserved for the benefit of the estate.
 23                                    IX. SIXTH CLAIM FOR RELIEF
 24                                        (Breach of Fiduciary Duty)
 25                                        [Against Defendant Zheng]
 26           58.     The allegations contained in paragraphs 1 through 57, inclusive, are re-alleged and
 27   incorporated herein by this reference as though set forth in full herein.
 28           59.     Zheng was the president and an officer of the Debtor at all relevant times herein.

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  1   Under the California Corporations Code, officers and directors have fiduciary duties of loyalty and
  2   care to the corporation that prohibit such actions as self-dealing and the usurpation of corporate
  3   opportunities.
  4           60.      As president, Zheng owed to the Debtor the fiduciary duties of care, loyalty, and
  5   good faith. The duty of care requires a director or officer to act with the care, skill, prudence, and
  6   diligence under the circumstances then prevailing that a prudent person acting in a like capacity
  7   and family with such matters would use. The duty of loyalty requires a director or officer to act in
  8   the best interests of the company, which shall take precedence over any interest possessed by the
  9   director or officer. The duty of good faith requires a director or officer to act with true faithfulness
 10   and devotion in the best interests of the company.
 11           61.      Zheng breached his duty of care to the Debtor by mismanaging the Debtor and
 12   failing to diligently operate the Debtor’s corporate business. Zheng’s mismanagement permitted
 13   the Debtor’s funds to be diverted to Defendants F5 Financial, Butler, and Feltman, at the expense
 14   of the Debtor’s legitimate business.
 15           62.      Zheng breached his duty of loyalty and good faith to the Debtor by acting in the
 16   best interests of Defendants rather than in the best interests of the Debtor. Zheng engaged in
 17   corporate looting of the Debtor by allowing the transfer of the Debtor’s funds to Defendants to the
 18   detriment of the Debtor and the Debtor’s creditors, and at the expense of the Debtor’s corporate
 19   opportunities.
 20           63.      As a proximate result of these breaches, the Debtor suffered actual damages in the
 21   amount of $635,182.62.
 22   ///
 23
 24   ///
 25
 26   ///
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 28   ///

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  1
  2                                                PRAYER
  3           WHEREFORE, the Debtor prays for judgment as follows:
  4           AS TO THE DEBTOR’S FIRST THROUGH FIFTH CLAIMS FOR RELIEF
  5           1.     For avoidance and recovery of the Transfers;
  6           2.     That the avoided Transfers be preserved for the benefit of the Debtor’s bankruptcy
  7                  estate;
  8           3.     For turnover of the Transfers or the Transfers’ equivalent value;
  9           4.     For interest as permitted by law from the date of the Transfers;
 10                      AS TO THE DEBTOR’S SIXTH CLAIM FOR RELIEF
 11           5.     For a judgment in the amount of $635,182.62.
 12           6.     For interest as permitted by law from April 17, 2017.
 13                                 AS TO ALL CLAIMS FOR RELIEF
 14           7.     For costs of suit incurred herein, including, without limitation, attorney’s fees;
 15           8.     For interest at the legal rate on all damages and sums awarded to Plaintiff; and
 16           9.     For such other and further relief as the Court may deem just and proper.
 17
      Dated: May 20, 2020                                   Respectfully submitted by,
 18
 19                                                         GOE FORSYTHE & HODGES LLP

 20
                                                            By: /s/Robert P. Goe
 21                                                            Robert P. Goe
                                                               Rafael R. Garcia-Salgado
 22                                                            Counsel to PH DIP, Inc., Debtor and
                                                               Debtor in Possession
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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Robert P. Goe - State Bar No. 137019
 Rafael R. Garcia-Salgado - State Bar No. 283230
 GOE FORSYTHE & HODGES LLP
 18101 Von Karman Avenue, Suite 1200
 Irvine, CA 92612
 RGoe@goeforlaw.com
 RGarcia@goeforlaw.com




 Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                              DIVISION

 In re:

 PH DIP, INC.,                                                             CASE NO.: 2:18-bk-15972-WB
                                                                           CHAPTER: 11
                                                                           ADVERSARY NO.: 2:20-ap-

                                                           Debtor(s).
PH DIP, INC.,




                                                           Plaintiff(s)
                                                                              SUMMONS AND NOTICE OF STATUS
                        Versus                                             CONFERENCE IN ADVERSARY PROCEEDING
 F5 FINANCIAL, INC., A TEXAS CORPORATION;                                              [LBR 7004-1]
 JAMES GILMORE BUTLER, III; JAMES G. BUTLER IN
 HIS CAPACITY AS PRESIDENT AND DIRECTOR OF
 F5 FINANCIAL INC; et al.,

                                                       Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

             Hearing Date:                                 Address:
             Time:                                            255 East Temple Street, Los Angeles, CA 90012
             Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                              411 West Fourth Street, Santa Ana, CA 92701
                                                              1415 State Street, Santa Barbara, CA 93101
                                                              21041 Burbank Boulevard, Woodland Hills, CA 91367

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  1   Robert P. Goe – SBN 137019
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  5   Facsimile: (949) 955-9437
  6   Attorneys for PH DIP, Inc.
  7
  8                                   UNITED STATES BANKRUPTCY COURT
  9                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
 10

 11    In re:                                                     Case No. 2:18-bk-15972-WB
 12    PH DIP, INC.,                                              Chapter 11 Case
 13                   Debtor and Debtor in Possession.            Adv. Case No.: 2:20-ap-01125-WB
 14    PH DIP, INC.,                                              NOTICE OF COMPLIANCE WITH
 15                                                               LOCAL BANKRUPTCY RULE 7026-1
                      Plaintiff,
 16                                         Status Conference Hearing:
       -vs-                                 Date:        July 21, 2020
 17                                         Time:        2:00 p.m.
       F5 FINANCIAL, INC., A TEXAS          Courtroom: 1375
       CORPORATION; JAMES GILMORE
 18    BUTLER, III; JAMES G. BUTLER IN HIS               U. S. BANKRUPTCY COURT
       CAPACITY AS PRESIDENT AND                          255 East Temple Street
 19    DIRECTOR OF F5 FINANCIAL INC.; DAVID               Los Angeles, CA 90012
       FELTMAN; DAVID FELTMAN DBA LAW
 20    OFFICE OF DAVID FELTMAN; BRIAN
       ZHENG; and DOES 1-25.
 21
                  Defendants.
 22

 23
                                               LBR 7026-1. DISCOVERY
 24
      (a)       General.           Compliance with FRBP 7026 and this rule is required in all adversary
 25
      proceedings.
 26
                (1)        Notice. The plaintiff must serve with the summons and complaint a notice that
 27
                compliance with FRBP 7026 and this rule is required.
 28
                (2)        Proof of Service. The plaintiff must file a proof of service of this notice together

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  1           with the proof of service of the summons and complaint.
  2   (b) Discovery Conference and Disclosures.
  3            (1)    Conference of Parties. Unless all defendants default, the parties must conduct the
  4            meeting and exchange the information required by FRBP 7026 within the time limits set

  5            forth therein.
  6            (2)    Joint Status Report. Within 7 days after such meeting, the parties must prepare a
  7            joint status report containing the information set forth in LBR 7016-1(a)(2). The joint
  8            status report will serve as the written report of the meeting required by FRBP 7026.
  9   (c) Failure to Make Disclosures or Cooperate in Discovery.
 10            (1)    General. Unless excused from complying with this rule by order of the court for

 11            good cause shown, a party must seek to resolve any dispute arising under FRBP 7026-
 12            7037 or FRBP 2004 in accordance with this rule.
 13            (2)    Meeting of Counsel. Prior to the filing of any motion relating to discovery, counsel
 14            for the parties must meet in person or by telephone in a good faith effort to resolve a
 15            discovery dispute. It is the responsibility of counsel for the moving party to arrange the
 16            conference. Unless altered by agreement of the parties or by order of the court for cause

 17            shown, counsel for the opposing party must meet with counsel for the moving party
 18            within 7 days of service upon counsel of a letter requesting such meeting and specifying
 19            the terms of the discovery order to be sought.
 20            (3)    Moving Papers. If counsel are unable to resolve the dispute, the party seeking
 21            discovery must file and serve a notice of motion together with a written stipulation by the
 22            parties.

 23                   (A)       The stipulation must be contained in 1 document and must identify,
 24                   separately and with particularity, each disputed issue that remains to be determined
 25                   at the hearing and the contentions and points and authorities of each party as to
 26                   each issue.
 27                   (B)       The stipulation must not simply refer the court to the document containing
 28                   the discovery request forming the basis of the dispute. For example, if the

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  1                  sufficiency of an answer to an interrogatory is in issue, the stipulation must contain,
  2                  verbatim, both the interrogatory and the allegedly insufficient answer, followed by
  3                  each party’s contentions, separately stated.
  4                  (C)     In the absence of such stipulation or a declaration of counsel of
  5                  noncooperation by the opposing party, the court will not consider the discovery
  6                  motion.
  7           (4)    Cooperation of Counsel; Sanctions. The failure of any counsel either to cooperate
  8           in this procedure, to attend the meeting of counsel, or to provide the moving party the
  9           information necessary to prepare the stipulation required by this rule within 7 days of the
 10           meeting of counsel will result in the imposition of sanctions, including the sanctions

 11           authorized by FRBP 7037 and LBR 9011-3.
 12           (5)    Contempt. LBR 9020-1 governing contempt proceedings applies to a discovery
 13           motion to compel a non-party to comply with a deposition subpoena for testimony and/or
 14           documents under FRBP 7030 and 7034.
 15
 16   Dated: May 22, 2020                                   GOE FORSYTHE & HODGES LLP
 17
                                                            By: /s/Robert P. Goe
 18                                                            Robert P. Goe
                                                               Rafael R. Garcia-Salgado
 19                                                            Counsel to PH DIP, Inc., Debtor and
                                                               Debtor in Possession
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3    Wilmington, DE 19899-2323
     Telephone: (302) 654-7444
4    Facsimile: (302) 656-8920
     mkurth@foxrothschild.com
5
     Rom Bar-Nissim (CA 293356)
6    FOX ROTHSCHILD LLP
7    10250 Constellation Place, Ste. 900
     Los Angeles, CA 90067-1506
8    Telephone: (310) 598-4150
     Facsimile: (310) 556-9828
9    rbar-nissim@foxrothschild.com
10
     Counsel for the Official Committee
11   of Unsecured Creditors

12
                                   UNITED STATES BANKRUPTCY COURT
13                                  CENTRAL DISTRICT OF CALIFORNIA
                                         LOS ANGELES DIVISION
14

15   In re:                                                 Case No. 2:18-bk-15972-WB

16   PH DIP, INC.,1                                         Chapter 11

17                    Debtor.

18
     OFFICIAL COMMITTEE OF                                  Adv. Proc. No. 2:19-ap-01450-WB
19   UNSECURED CREDITORS,
                                                            NOTICE THAT ADVERSARY
20                             Plaintiff,                   PROCEEDING IS SUBJECT TO THE
21            vs.                                           ORDER GRANTING MOTION FOR AN
                                                            ORDER ESTABLISHING STREAMLINED
22                                                          PROCEDURES GOVERNING ADVERSARY
                                                            PROCEEDINGS BROUGHT ON BEHALF
23   BARCLAYS BANK PLC d/b/a BARCLAY
                                                            OF THE DEBTOR’S ESTATE [DOC #482]
     CARD U.S., a Delaware Corporation,
24
                               Defendant.
25

26
27

28   1
         On December 3, 2018, the Court entered its Order Granting Motion for Order Authorizing Change in Case Caption
         [Docket No. 266].

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1            PLEASE TAKE NOTICE THAT the above-captioned adversary proceeding is subject to

2    the Order Granting Motion for an Order Establishing Streamlined Procedures Governing

3    Adversary Proceedings Brought on Behalf of the Debtor’s Estate [Dkt #482] (the “Mediation

4    Order”). A true and correct copy of the Mediation Order is attached hereto at Exhibit 1.

5            PLEASE TAKE FURTHER NOTICE THAT, pursuant to Paragraph 5 and 6 of the

6    Mediation Order, a stay of proceedings is imposed pending mediation:

7                    5. All Estate Actions not settled or otherwise resolved within 30 days after an
             answer or other responsive pleading to a complaint is filed shall automatically be
8            referred to mandatory, non-binding mediation.
9                    6. The Parties shall participate in mediation as set forth herein. All other non-
             mediation proceedings, including but not limited to fact discovery, expert discovery,
10           dispositive motions, and status conferences, are stayed pending the conclusion of
             mediation . . . .
11

12           PLEASE TAKE FURTHER NOTICE THAT it is therefore requested that the Court

13   defer or continue any status conferences in this adversary proceeding until a date that is at least 60

14   days from the date of this notice.

15

16
     Date: January 23, 2019                          FOX ROTHSCHILD LLP
17

18                                              By: /s/ Mette H. Kurth
19                                                  Mette H. Kurth
                                                    Counsel for the Official Committee of Unsecured
20                                                  Creditors

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 1   Mette H. Kurth (CA 187100/DE 6491)
     FOX ROTHSCHILD LLP
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 5
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     Amanda D. Murray (SBN 305018)                                     Central District of California
 6   FOX ROTHSCHILD LLP                                                BY bryant     DEPUTY CLERK


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     Counsel for the Official Committee
11   of Unsecured Creditors

12
                                    UNITED STATES BANKRUPTCY COURT
13                                   CENTRAL DISTRICT OF CALIFORNIA
                                          LOS ANGELES DIVISION
14

15
                                                       Case No. 2:18-bk-15972-WB
     In re:
16
                                                       Chapter 11
     PH DIP, INC.,1
17
                                                      ORDER GRANTING MOTION FOR AN
18                                                    ORDER ESTABLISHING STREAMLINED
                               Debtor.
                                                      PROCEDURES GOVERNING
19                                                    ADVERSARY PROCEEDINGS BROUGHT
20                                                    ON BEHALF OF THE DEBTOR'S
                                                      ESTATE
21

22

23

24            Upon the Motion for an Order Establishing Streamlined Procedures Governing Adversary
25
     Proceedings Brought on Behalf of the Debtor’s Estate, (the “Procedures Motion”)2 dated October
26
27
     1
         On December 3, 2018, the Court entered its Order Granting Motion for Order Authorizing Change in
28       Case Caption [D.I. 266].



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 1   25, 2019 [D.I. #454], filed by the Official Committee of Unsecured Creditors of PH DIP, Inc. (the
 2   “Committee”), by and through its undersigned counsel, for entry of a procedures order pursuant to
 3
     sections 102(1) and 105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules
 4
     7016, 7026 and 9006 of the Federal Rules of Bankruptcy Procedure (the “Federal Bankruptcy
 5
     Rules”), establishing streamlined procedures governing all adversary actions brought in connection
 6

 7   with the above-captioned case, including but not limited to: (a) all adversary actions brought under

 8   sections 542, 547, 548, 549 and 550 of the Bankruptcy Code; and (b) all adversary actions brought

 9   against any parties identified in Exhibit A annexed hereto, as it may be amended or supplemented
10
     (each an “Estate Action,” and collectively, the “Estate Actions”); and this Court having jurisdiction
11
     to consider and determine the Procedures Motion as a core proceeding in accordance with 28 U.S.C.
12
     §§ 157(b)(2)(A), (B), (F), (H), (O); and no objections having been filed in connection with the
13
     Procedures Motion; and it appearing that the relief requested by the Procedures Motion is necessary,
14

15   appropriate, and in the best interests of the Debtor, its estate, and its creditors; and due notice of the

16   Procedures Motion having been provided; and it appearing that no other or further notice of the
17   Procedures Motion need be provided; and sufficient cause appearing therefore, it is hereby:
18
               ORDERED, that the Procedures Motion be, and hereby is, granted in all respects; and it is
19
     further
20
               ORDERED, that the procedures governing all parties to the Estate Actions (the “Parties”)
21

22   are as follows:

23   A.        Effectiveness of this Procedures Order

24             1.      This Order approving the Procedures Motion shall apply to all Parties.
25             2.      This Order will not alter, affect or modify the rights of any defendant in the Estate
26
     Actions (the “Defendant(s)”) to seek a jury trial or withdraw the reference, or otherwise move for a
27
     2
          Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
28        Procedures Motion.


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 1   determination on whether the Court has authority to enter a final judgment, or make a report and
 2   recommendation, in an adversary proceeding under 28 U.S.C. § 157, and all such rights of the
 3
     Defendants shall be preserved unless otherwise agreed to in a responsive pleading.
 4
     B.       Extensions to Answer or File a Responsive Pleading to a Complaint
 5
              3.      The time to file an answer or other responsive pleading to a complaint filed in an
 6

 7   Estate Action shall be 30 days after the issuance of the summons; provided, however, that if the

 8   Parties jointly agree in writing to enter mediation prior to the due date for the answer or responsive

 9   pleading, the answer or response due date shall be deferred until 15 days following the completion of
10
     mediation and the filing of the Mediator’s Report. Further extensions of the answer or response due
11
     date shall not be granted except upon a motion or stipulation of the Parties, approved by order of the
12
     Court.
13
              4.      The Parties are prohibited from filing any dispositive motions, including but not limited
14

15   to any motions under Federal Rule of Civil Procedure 12(b)(1) to (7) (made applicable by Bankruptcy

16   Rule 7012) and under Federal Rule of Civil Procedure 56 (made applicable by Bankruptcy Rule 7056),
17   and any deadlines then in effect shall be tolled, pending the conclusion of mediation and filing of the
18
     Mediator’s Report.
19
     C.       Stay Pending Mediation
20
              5.      All Estate Actions not settled or otherwise resolved within 30 days after an answer or
21

22   other responsive pleading to a complaint is filed shall automatically be referred to mandatory, non-

23   binding mediation.

24            6.      The Parties shall participate in mediation as set forth herein. All other non-mediation
25   proceedings, including but not limited to fact discovery, expert discovery, dispositive motions, and
26
     status conferences, are stayed pending the conclusion of mediation (the “Stay of Proceedings”).
27
     D.       Waiver of Requirement to Conduct Scheduling Conference
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 1           7.       Federal Rule of Civil Procedure 26(f), made applicable herein pursuant to Bankruptcy
 2   Rule 7026 (mandatory meeting before scheduling conference/discovery plan), is hereby waived and
 3
     is not applicable to the Estate Actions. Thus, the Parties to the Estate Actions shall not be required to
 4
     submit a written report as may otherwise be required under Federal Rule of Civil Procedure 26(f).
 5
     E.      Mediation Procedures and Requirements
 6

 7           8.       Because the Estate Actions are proceedings before this Court, the Central District of

 8   California is the proper forum for mediation. The Third Amended General Order No. 95-01

 9   implemented by the United States Bankruptcy Court for the Central District of California on July 1,
10
     1995 (the “Mediation Order”), provides that adversary proceedings in this district are eligible for
11
     mediation unless otherwise ordered by the judge in the matter.
12
             9.       The Parties shall in good faith seek to mutually select a mediator from the list of
13
     mediators attached as Exhibit B hereto (the “Mediator List”) within 10 days of the earlier of: (a) the
14

15   date on which the Parties have jointly agreed, in writing, to enter mediation; or (b) the date on which

16   the Defendant files an answer or other responsive pleading. If the Parties are unable to agree on a
17   mediator from the Mediator List within such timeframe, the Parties shall select another mediator
18
     included on the panel of mediators established pursuant to the Mediation Order, as set forth on the
19
     register of mediators maintained by the Bankruptcy Court, and mutually agreed to by the Parties.
20
             10.      Plaintiff’s counsel shall promptly file a notice of selection of the mediator (each a
21

22   “Mediator,” and collectively, the “Mediators”) on the docket of the related Estate Action by filing

23   with the Court a Notice of Referral, in substantially the form of the notice attached hereto as Exhibit

24   C, and by serving the Notice of Referral upon all Defendants. The Parties shall contact the selected
25   Mediator as soon as practicable and the selection shall be preapproved in advance of the mediation.
26
             11.      Immediately upon notification of such selection or assignment, a selected Mediator
27
     shall run conflicts, and in the event of a conflict, may abstain from acting in the particular mediation.
28

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 1   Each Mediator shall be required to file conflict disclosures pursuant to section 5.6 of the Mediation
 2   Order.
 3
              12.     Within seven days of the filing of Notice of Referral for the relevant Mediation, the
 4
     Parties, working with the Mediator selected, will commence scheduling Mediations. Each Mediator
 5
     will provide to the plaintiff the dates on which the Mediator is available for mediation and the
 6

 7   Parties shall cooperate with the Mediator and each other regarding the scheduling of mediations.

 8   Plaintiff’s counsel shall contact the Defendant or Defendant’s counsel with a list of proposed dates

 9   for mediation provided by the Mediator. Mediation will then be conducted at a date and time
10
     acceptable to the Parties and the Mediator.
11
              13.     The Parties much conclude mediation with respect to the Post-Petition Transfer
12
     Actions identified on Exhibit A within 30 days of this Order, and no later than seven business days
13
     prior to the date of the hearing to consider confirmation of the [Joint] Chapter 11 Plan of Liquidation
14

15   Filed by Debtor [and Official Committee of Unsecured Creditors] dated January 17, 2019 (the

16   “Confirmation Hearing Date”). The Parties must conclude mediation with respect to all other Estate
17   Actions within 120 days of this Order, unless further extended by written agreement of the Parties
18
     and the Mediator.
19
              14.     The plaintiff will give at least 14 calendar days written notice of the first date, time
20
     and place of the mediation in each Estate Action (the “Mediation Notice”), which notice shall be
21

22   filed on the docket of the applicable adversary proceeding.

23            15.     Within five business days after the conclusion of each mediation, the Mediator shall

24   submit a report with respect to the relevant Estate Action in substantially the form of Form 709
25   Mediator’s Confidential Report of Mediation Conference (the “Mediator’s Report”), provided that
26
     the Mediator’s Report for the Post-Petition Transfer Actions is filed on or before the Confirmation
27

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 1   Hearing Date. The Mediator’s Report shall be limited to stating: (a) whether the Estate Action settled
 2   or did not settle; (b) the dates of the Mediation; and (c) the Parties attending the Mediation.
 3
             16.      Each mediation shall take place in Los Angeles County, California and shall be held
 4
     at: (a) the law offices of Fox Rothschild LLP; (b) the Mediator’s office; or (c) another location
 5
     agreed upon by the Mediator and the Parties.
 6

 7           17.      Upon notice and a hearing, a Party’s unexcused failure to appear at a Mediation or

 8   otherwise comply with the Procedures Order with respect to the Mediation may result in a default

 9   judgment against the Defendant(s) or dismissal of the Estate Action. The Mediator shall promptly
10
     file a notice with the Court when any Party fails to comply with the mediation provisions set forth in
11
     this Procedures Order.
12
             18.      The Parties to each Mediation will participate in the mediation, as scheduled and
13
     presided over by the chosen Mediator, in good faith and with a view toward reaching a consensual
14

15   resolution. At least one counsel for each Party and a representative for the Defendant having full

16   settlement authority shall attend the mediation in person except that, upon the request of a Party, a
17   Mediator, in his or her discretion, after conferring with the Defendant representative and its counsel,
18
     may allow a Party representative to appear telephonically while its counsel appears in person.3 Any
19
     such request must be made at least 10 business days prior the scheduled mediation date or such
20
     request is deemed waived. Should a Party representative appear by telephone, counsel appearing in
21

22   person for that Party must have full settlement authority. To the extent a Mediator grants a Party’s

23   request to appear telephonically, the requesting Party is responsible for arranging for and paying any

24   fees associated with teleconference services.
25

26   3
         Counsel for the Plaintiff may serve as the representative of the Debtor, the Trustee, or the Committee
         (each an “Estate Representative”), as applicable, with full settlement authority in order to alleviate the
27       need for an Estate Representative to participate at the Mediation. The Estate Representative shall advise
         the Mediator and Defendant(s) within seven days before the scheduled Mediation whether he or she will
28       be available telephonically or will be appearing in person.


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 1           19.      The Mediator will preside over the mediation with full authority to determine the
 2   nature and order of the Parties’ presentations, and the rules of evidence will not apply. Each
 3
     Mediator may implement additional procedures which are reasonable and practical under the
 4
     circumstances.
 5
             20.      Mediation statements are due to the Mediator seven business days before the
 6

 7   Mediation. Mediation statements shall include any relevant papers and exhibits, a statement of

 8   position (to be shared with the other Parties unless otherwise directed by the Mediator), and a

 9   confidential settlement proposal (not to be shared with the other Parties). In addition, any Party that
10
     has confidential information may share such information solely with the Mediator. The Mediator
11
     will direct the Parties as to further instructions regarding the mediation statements.
12
             21.      In the Mediator’s discretion, upon notice (which need not be filed), the Mediator may
13
     adjourn a mediation or move a mediation to a different location within the same jurisdiction. The
14

15   Mediator may also continue a mediation that has been commenced if the Mediator determines that a

16   continuation is in the best interest of the Parties.
17           22.      If the Mediator feels that a Party to a mediation is not attempting to schedule or
18
     resolve the mediation in good faith, the Mediator may file a report with the Court. The Court may,
19
     without need for further motion by any Party, schedule a hearing. If the Court determines that the
20
     Party is not cooperating in good faith with the mediation procedures, the Court may consider the
21

22   imposition of sanctions. Additionally, if either Party to a mediation is not attempting to schedule or

23   resolve the mediation in good faith, the opposing Party may file a motion for sanctions with the

24   Court. Litigation with respect to the issuance of sanctions shall not delay the commencement of the
25   Mediation. Sanctions may include, but are not limited to, attorney’s fees and costs and fees of the
26
     Mediator.
27

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 1           23.      The full fees and expenses of the Mediator shall be paid by any Party that cancels or
 2   fails to appear at Mediation unless the Party notifies the Mediator of the cancellation in writing no
 3
     less than ten days prior to the scheduled mediation date (not counting the day scheduled for
 4
     mediation), subject to further restriction set by any selected Mediator.
 5
             24.      The fees and reasonable expenses of the Mediator shall be shared equally by the
 6

 7   Parties to each Mediation on a per case basis. Each Party shall pay its portion of the Mediator’s fee

 8   at least seven days before the commencement of mediation. The Parties shall each pay half (50%) of

 9   the Mediator’s reasonable expenses, per case, within 14 days after billing by the Mediator.
10
             25.      The Mediator’s fees shall be fixed as follows:
11
                      Claim Amount4                 Half Day           Full Day
12
                      < $100,000                    $3,500             $5,000
13                    ≥ $100,000 and < $250,000     $4,500             $7,000
                      ≥ $250,000 and < $1,000,000   $5,500             $8,000
14                    ≥ $1,000,000                  $6,500             $9,000

15

16           26.      When scheduling any mediation, the Parties are to advise the mediator in advance as
17   to whether the mediation is to be scheduled for a full or half day. A full day of mediation is 7 hours
18
     and includes 2 hours of preparation time by the mediator. A half day of mediation is 3 ½ hours and
19
     includes 2 hours of preparation time. If a mediation scheduled for a half day goes beyond 4 hours,
20
     then the full day rate will be charged. If a mediation exceeds 7 hours, the mediator will charge the
21

22   Parties an additional fee at a rate of $700 per hour.

23           27.      If the Parties mutually request that the Mediator travel from Los Angeles County to

24   some other location for the mediation, and the Mediator agrees to the location, the Mediator’s fees
25   shall increase by $800 per Party, per case, plus the Mediator’s out of pocket expenses for travel and
26
27
     4
28       As reflected in the Complaint.

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 1   lodging (if necessary). The Mediators will not otherwise charge for travel time or travel related
 2   expenses.
 3
             28.      Without the prior consent of both Parties, no Mediator shall mediate a case in which
 4
     he/she or his/her firm represents a Party. If a Mediator’s firm represents any Party in the Estate
 5
     Actions, then: (a) the Mediator shall not personally participate in the representation of that Party; (b)
 6

 7   the firm shall notate the file to indicate that the Mediator shall have no access to it; and (c) any

 8   discussions concerning the particular Estate Action by employees of the firm shall exclude the

 9   Mediator. The Mediator’s participation in mediation pursuant to the Mediation Order shall not
10
     create a conflict of interest with respect to the representation of such Parties by the Mediator’s firm.
11
             29.      The Mediator shall not be called as a witness by any Party except as set forth in this
12
     paragraph.     No Party shall attempt to compel the testimony of, or compel the production of
13
     documents from, any Mediator or his/her agents, partners or employees of his/her respective law
14

15   firms. Neither the Mediators nor their respective agents, partners, law firms or employees: (a) are

16   necessary parties in any proceeding relating to the mediation or the subject matter of the mediation;
17   or (b) shall be liable to any Party for any act or omission in connection with any mediation
18
     conducted under the Mediation Order. Any documents provided to the Mediator by a Party shall be
19
     destroyed 30 days after the filing of the Mediator’s Report unless the Mediator is otherwise ordered
20
     by the Court. However, subject to court order, a Mediator may be called as a witness by any Party
21

22   and may be compelled to testify on a limited basis in proceedings where it is alleged that a Party

23   failed to comply with the terms of this Order.

24           30.      All proceedings and writings incident to the mediation shall be privileged and
25   confidential and subject to all the protections of Federal Rule of Evidence 408 and shall not be
26
     reported or admitted into evidence for any reason whatsoever. Nothing stated or exchanged during
27

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 1   mediation shall operate as an admission of liability, wrongdoing, or responsibility. Local Rule 9019-
 2   1 shall apply.
 3
     F.      Post-Mediation Proceedings
 4
             31.      If an Estate Action is resolved after mediation, the Stay of Proceedings shall be
 5
     extended following the completion of mediation and the filing of the Mediator’s Report. The Parties
 6

 7   shall file any required motion to approve their settlement with the Court within 30 days after the

 8   completion of mediation and the filing of the Mediator’s Report.

 9           32.      If an Estate Action remains unresolved after mediation, the Stay of Proceedings is
10
     lifted and the Parties shall file a joint proposed scheduling order with the Court within 30 days after
11
     the later of: (a) the filing of the Mediator’s Report; or (b) the filing of an answer or responsive
12
     pleading. The joint proposed scheduling order shall reflect all dates and deadlines within this Order.
13
     The joint proposed scheduling order shall also contain any remaining necessary dates and deadlines
14

15   not set forth within this Order.

16   G.      Discovery Schedule and Procedures for Unresolved Estate Actions
17           33.      In accordance with Bankruptcy Rule 7026(a)(1), the disclosures required (the “Initial
18
     Disclosures”) shall be made by the later of 30 days after the later of: (a) the filing of the Mediator’s
19
     Report; or (b) the filing of an answer or responsive pleading.
20
             34.      Except as set forth herein, all written interrogatories, document requests and requests
21

22   for admission, if any, may be served upon the adverse Party any time after the service of Initial

23   Disclosures or in conjunction with the service of the Initial Disclosures.

24           35.      The Parties shall have 60 days from the later of the filing of the Mediator’s Report or
25   the filing of an answer or responsive pleading to complete non-expert fact discovery, including
26
     depositions of fact witnesses.
27

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 1             36.    The Parties shall have 90 days from the completion of non-expert fact discovery to
 2   complete expert discovery, including depositions of expert witnesses.
 3
     H.        Other Pre-Trial Procedures for Unresolved Estate Actions
 4
               37.    Except as set forth in this Order, the standard provisions of Federal Rules of Civil
 5
     Procedure, made applicable herein pursuant to the Federal Bankruptcy Rules, and the Local Rules
 6

 7   for the United States Bankruptcy Court for the Central District of California, shall apply to the Estate

 8   Actions with respect to pre-trial matters not addressed within this Order. This Order shall control

 9   with respect to the Estate Actions to the extent of any conflict with other applicable rules and orders.
10
     I.        Miscellaneous
11
               38.    The deadlines and/or provisions contained in this Order may be extended and/or
12
     modified by the Court upon written motion and for good cause shown or consent of the Parties
13
     pursuant to stipulation, which stipulation needs to be filed with the Court; and it is further
14

15             ORDERED, that this Court retains jurisdiction with respect to all matters arising from or

16   related to the implementation of this Order.
17
                                                       ###
18

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23

24        Date: December 19, 2019

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 1

 2                                            Exhibit A
 3
                                                       Estate Actions5
 4

 5                                     Post-Petition Transfer Actions
                     Bank of America, N.A.
 6
                     Barclay Card PCL & Barclay Card U.S.
 7                   JP Morgan Chase Bank, N.A.
 8                   Yu “Brian” Zheng
                                               Preference Actions
 9
                     American Express & American Express National Bank
10                   Disney Consumer Prod. Latin Am
                     Hangzhou Taiyuan Outdoor
11                   BPP Shiraz Fullerton 89 LP
12                   Matson Navigation
                     Market Union Co.,Ltd
13
                     Zhejiang Onetouch Business
14                   Diverse Marketing, L.L.C.
                     Invensure Insurance Brokers
15
                                      Fraudulent Transfer & Other Actions
16                   1 West Capital, LLC
17                   Broadway Advanced Funding & Broadway Advance LLC
                     Capital One Financial Corporation
18                   Citi Capital LLC
19                   Complete Business Solutions Group, d/b/a PAR Funding
                     Computer Mortgage Corporation
20
                     EBF Partners LLC d/b/a Everest Business Funding
21                   F5 Financial, Inc.
                     GTL, LLP
22
                     Harry C. Lin, MBA, CPA
23                   HSBC Bank USA, N.A.
                     Loan Oak Fund, LLC
24
                     Tesla, Inc.
25                   Family Dollar Stores, Inc.
                     Kids Warehouse
26
27
     5
28       References to the Defendants include the named Defendants as well as any affiliates.


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 1

 2                                      Exhibit B
 3

 4
                                               Mediator List
 5
                                                        Sharon Weiss    Geoffrey Berman
 6                                                       Availability     Availability
 7      American Express & American Express                   X                X
             National Bank
 8      Bank of America, N.A.                             Conflict            X
        Barclay Card PCL & Barclay Card U.S.              Conflict            X
 9
        BPP Shiraz Fullerton 89 LP                        Conflict            X
10      Broadway Advanced Funding & Broadway                X                 X
             Advance LLC
11      Capital One Financial Corporation                 Conflict            X
12      Citi Capital LLC                                    X                 X
        Complete Business Solutions Group, d/b/a            X                 X
13           PAR Funding
        Computer Mortgage Corporation                       X                 X
14                                                        Conflict            X
        Disney Consumer Prod. Latin Am
15      Diverse Marketing, L.L.C.                           X                 X
        EBF Partners LLC d/b/a Everest Business             X                 X
16           Funding
17      F5 Financial, Inc.                                  X                 X
        GTL, LLP                                            X                 X
18      Hangzhou Taiyuan Outdoor                            X                 X
19      Harry C. Lin, MBA, CPA                              X                 X
        HSBC Bank USA, N.A.                               Conflict            X
20      Invensure Insurance Brokers                         X                 X
21      Loan Oak Fund, LLC                                  X                 X
        Market Union Co.,Ltd                                X                 X
22      Matson Navigation                                   X                 X
23      Tesla, Inc.                                         X                 X
        Yellowstone Capital West, LLC                       X                 X
24
        Yu “Brian” Zheng                                    X                 X
25      Zhejiang Onetouch Business                          X                 X

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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


 Mette H. Kurth (CA 187100/DE 6491)
 FOX ROTHSCHILD LLP
 919 North Market Street, Ste. 300
 Wilmington, DE 19899-2323
 Telephone: (302) 654-7444
 Facsimile: (302) 656-8920
 mkurth@foxrothschild.com

 Counsel for the Official Committee of Unsecured
 Creditors




                                             UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA - Name of DIVISION

 In re:

 PH DIP, Inc.
                                                                              CASE NO.:      2:18-bk-15972-WB
                                                                              CHAPTER: 11
                                                                              ADVERSARY NO.:
                                                             Debtor(s).



                                                                               NOTICE OF REFERRAL TO MEDIATION AND
                                                                                       APPOINTING MEDIATOR

                                                             Plaintiff(s),                           EXHIBIT ATTACHED
                                    vs.
                                                                                          (PARTIES’ SIGNATURE PAGE)

                                                                                                 [NO HEARING REQUIRED]


                                                            Defendant.

This
        (Adversary proceeding/name of dispute in main case)
is assigned to the Bankruptcy Mediation Program of this district, and the following are appointed as Mediator and
Alternate Mediator:
Mediator:

Name

Firm name
             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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Address

City, state, zip code

Telephone

Facsimile

Email address




The attorneys for the parties are:
Attorney for The Official Committee of Unsecured:                             Attorney for                         :
Creditors
Mette H. Kurth, Equire
Name                                                                          Name
Fox Rothschild LLP
Firm name                                                                     Firm name
919 N. Market Street
Suite 300
Address                                                                       Address
Wilmington, DE 19801
City, state, zip code                                                         City, state, zip code
(302) 622-4209
Telephone                                                                     Telephone
(302) 656-8920
Facsimile                                                                     Facsimile
mkurth@foxrothschild.com
Email address                                                                 Email address



[Attach additional page(s) if necessary.]




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Description of the Matter:

        1.           Objection to claim/claim resolution
        2.           Plan
                          Objection to plan confirmation
                          Plan formulation/negotiation
        3.           Valuation
        4.           Preference
        5.           Fraudulent transfer
        6.           Lien avoidance
        7.           Dischargeability
                     Specify grounds:


        8.           Other. Please specify:




Amount of money at issue in Matter:

        1.           $0 to $1,000
        2.           $1,001 to $10,000
        3.           $10,001 to $50,000
        4.           $50,001 to $100,000
        5.           $100,001 to $500,000
        6.           $500,001 to $1,000,000
        7.           $1,000,001 to $5,000,000
        8.           $5,000,001 to $10,000,000
        9.           If more than $10,000,000,
                     state amount: $
        10.          Money not at issue.


The parties are to comply with the provisions of Third Amended General Order No. 95-01, as supplemented and modified
by the Order Granting Motion for An Order Establishing Streamlined Procedures Governing Adversary Proceedings
Brought on Behalf of the Debtor’s Estate.




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                                                  [EXHIBIT – PARTIES' SIGNATURE PAGE]



SUBMITTED JOINTLY BY:

Date:                                                                         Official Committee of Unsecured Creditors
                                                                              Printed name of party


                                                                              Signature of party

Date:                                                                         Mette H. Kurth, Esquire
                                                                              Printed name of party's attorney


                                                                              (Signature of party's counsel)

Date:
                                                                              (Name of party)


                                                                              (Signature of party)

Date:
                                                                              (Name of party's counsel)


                                                                              (Signature of party's counsel)




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document entitled ORDER ASSIGNING MATTER TO MEDIATION PROGRAM
AND APPOINTING MEDIATOR AND ALTERNATE MEDIATOR will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Order(s) and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email address(es) stated
below:




                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL (indicate method for each person or entity served):
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Mediator:
Alternate Mediator:
Honorable Barry Russell, Mediation Program Administrator - 255 E. Temple, Room 1660, Los Angeles, CA 90012



                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (indicate
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I
served the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on the judge will be completed no later than 24 hours after the document is filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                            Printed Name                                                    Signature




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Fox Rothschild LLP 919 North Market Street, Suite 300, Wilmington, DE 19899-2323


A true and correct copy of the foregoing document entitled (specify): Notice that Adversary Proceeding is Subject
to the Order Granting Motion for an Order Establishing Streamlined Procedures Governing Adversary Proceedings
Brought on Behalf of the Debtor's Estate [D.I. 482]

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 23, 2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
•        Mette H Kurth mkurth@foxrothschild.com, mette-kurth-7580@ecf.pacerpro.com
•        Jeffrey L Sklar JSklar@lrrc.com, BankruptcyNotices@lrrc.com
•        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 23, 2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 23, 2020 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA OVERNIGHT MAIL

Hon. Julia Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street
Los Angeles, CA 90012




                                                                                            Service information continued on attached page


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
       Case
        Case
        Case2:19-ap-01450-WB
             2:20-ap-01125-WB
              2:20-ap-01125-WB Doc
                                Doc
                                Doc11-2
                                    34
                                     4 Filed
                                         Filed
                                          Filed05/22/20
                                               01/15/21
                                                01/23/20 Entered
                                                         Entered
                                                          Entered05/22/20
                                                                  01/15/21
                                                                   01/23/2013:37:20
                                                                           15:11:22
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                                Main
                                 Proof
                                     Document
                                       of Service Page
                                                    Page81
                                                        45
                                                         2 of
                                                           of 284
                                                               47


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

1/23/2020                      Amanda M. Hrycak                                                /s/ Amanda M. Hrycak
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
         Case2:20-ap-01125-WB
         Case 2:20-ap-01125-WB Doc
                               Doc343
                                    4 Filed
                                       Filed05/21/20
                                            01/15/21 Entered
                                            05/22/20   Entered05/21/20
                                                                 01/15/2109:53:05
                                                                 05/22/20 15:11:22 Desc
                                                                          13:37:20 Desc
                                 AP-Summons
                               Main Document    Page
                                                Page 482
                                                      46ofof4 84
                                                              47



                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    18101 Von Karman, Suite 1200
    Irvine, CA 92612

A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
 Complaint; Notice of Compliance with LBR 7026-1; Notice That Adversary Proceeding Is Subject To The Order Granting
__________________________________________________________________________________________________________
 Motion For An Order Establishing Streamlined Procedures Governing Adversary Proceedings Brought on Behalf Of The
 Debtor’s Estate [Doc #482]
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
           05/22/2020
   (date) _____________________,     I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:

      Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
      United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                               Service information continued on attached page
                                                          05/22/2020
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________,                   I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                          X Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
     05/22/2020
   _____________________,      I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.

    The Honorable Julia W. Brand, USBC, 255 East Temple Street, Los Angeles, CA 90012


                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

     05/22/2020            Kerry A, Murphy
   _____________________________________________________________                                      /s/Kerry A. Murphy
                                                                                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC
Case
Case2:20-ap-01125-WB
     2:20-ap-01125-WB Doc
                      Doc344 Filed
                              Filed05/22/20
                                   01/15/21 Entered
                                             Entered05/22/20
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                                                             15:11:22 Desc
                                                                      Desc
                      Main Document    Page 83
                                            47 of 84
                                                  47



                                  DEFENDANTS


Defendant – Address per Secretary of      Defendant
State for Texas                           James Gilmore Butler
F5 Financial, Inc.                        c/o J. Nathan Overstreet
c/o Registered Agent                      8711 Highway 6 North, Suite 230
J. Nathan Overstreet                      Houston, TX 77095
8711 Highway 6 North, Suite 230
Houston, TX 77095

Defendant                                 Defendant
James G. Butler in his capacity as        David Feltman
President and Director of F5 Financial,   c/o Law Offices of David Feltman
Inc.                                      10275 W Higgins Rd
c/o J. Nathan Overstreet                  Rosemount, IL 60018-5625
8711 Highway 6 North, Suite 230
Houston, TX 77095
Defendant                                 Defendant
David Feltman dba Law Offices of David    Brian Zheng
Feltman                                   19901 Tennessee Trail
10275 W Higgins Rd                        Walnut, CA 91789-4914
Rosemount, IL 60018-5625
        Case 2:20-ap-01125-WB                   Doc 34 Filed 01/15/21 Entered 01/15/21 15:11:22                                      Desc
                                                Main Document    Page 84 of 84

                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

A true and correct copy of the foregoing document entitled: PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT UNDER
LBR 7055-1 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 01/15/2021 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Bradley E Brook bbrook@bbrooklaw.com, paulo@bbrooklaw.com;brookecfmail@gmail.com
Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/15/2021 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
F5 Financial, Inc., James Gilmore Butler, III, and James G. Butler as President and Director, c/o Registered Agent, J.
Nathan Overstreet, 8711 Highway 6 North, Suite 230, Houston TX 77095



                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 01/15/2021 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Julia Brand, USBC, 255 E. Temple Street, Los Angeles, CA 90012
(DOCUMENT DELIVERY TO COURT SUSPENDED DUE TO COVID-19 PROTOCOLS)


                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 01/15/2021        Susan C. Stein                                                    /s/Susan C. Stein
 Date                         Printed Name                                                   Signature




           This form is PDQGDWRU\ It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                       Page 4                               F 7055-1.2.DEFAULT.JMT.MOTION
